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The following constitutes the ruling of the court and has the force and effect therein described.


Signed November 8, 2021
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                           FORT WORTH DIVISION


        In re:                                                   §      Chapter 11
                                                                 §
        FLEXIBLE FUNDING LTD. LIABILITY CO.,                     §
        et al.,                                                  §      Case No. 21-42215-11-mxm
                                                                 §
                              Debtors.                           §
                                                                 §      (Jointly Administered)


                   ORDER (A) AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF
                   DEBTOR FLEXIBLE FUNDING LTD. LIABILITY CO.’S ASSETS FREE
                  AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER
                 INTERESTS; (B) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT
                 OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES IN
                   CONNECTION THEREWITH; AND (C) GRANTING RELATED RELIEF


                 Upon consideration of the motion (the “Motion”)1 [Docket No. 73] of Flexible Funding

        Ltd. Liability Co. (“Flexible”) and InstaPay Flexible LLC (“InstaPay”) (collectively, the



        1 Unless otherwise stated, all capitalized terms not defined herein shall have the same meaning as set forth in
        the Motion.
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   “Debtors”) for entry of an order, among other things: (a) establishing Bidding Procedures to

   sell substantially all of Flexible’s assets; (b) scheduling an Auction to sell such assets;

   (c) scheduling the Sale Hearing; (d) scheduling deadlines for Flexible’s receipt of a marked

   asset purchase agreement; (e) approving the notice of the Sale, the Bidding Procedures, the

   Auction and the Sale Hearing; (f) establishing procedures for determining Cure Amounts in

   connection with the assumption and assignment of the Assigned Contracts; and (g) granting

   other related relief; and it appearing that the relief requested in the Motion is in the best

   interests of the Debtors’ estates, their creditors, and other parties in interest; and it

   appearing that this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

   1334; and it appearing that the Motion is a core proceeding pursuant to 28 U.S.C. § 157;

   and adequate notice of the Motion and opportunity for objection having been given, with no

   objections or requests for hearing having been filed; and it appearing that no other or further

   notice need be given; and after due deliberation and sufficient cause appearing therefor:

            THE COURT HEREBY FINDS THAT:2

                          Jurisdiction, Final Order and Statutory Predicates

            A.       This Court has jurisdiction over the Motion pursuant to 28 U.S C. § 1334. This

   proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (N), and (O). Venue

   is proper in this District and in this Court pursuant to 28 US.C. §§ 1408 and 1409.

            B.       This Order constitutes a final and appealable order within the meaning of 28

   U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent

   necessary under Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil

   Procedure as made applicable by Bankruptcy Rule 7054, this Court expressly finds that



   2The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
   pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the
   extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
   extent any of the following conclusions of law constitute findings of fact, they are adopted as such.



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   there is no just reason for delay in the implementation of this Order, and expressly directs

   entry of judgment as set forth herein.

           C.      The statutory predicates for the relief requested herein are sections 105(a),

   363(b), (f) and (m), and 365 of title 11 of the United States Code (the “Bankruptcy Code”)

   and Rules 2002(a)(2), 6004(a), (b), (c), (e), and (f), 6006(a), (c) and (d), 9006, 9007, and

   9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                           Compliance with Bidding Procedures Order

           D.      On October 15, 2021, the Court entered the Order (A) Approving Bidding

   Procedures in Connection with the Sale of Substantially All of Debtor Flexible Funding Ltd.

   Liability Co.’s Assets, (B) Approving the Form and Manner of the Sale Notice,

   (C) Scheduling an Auction and Sale Hearing, (D) Scheduling Certain Deadlines, and

   (E) Approving Procedures for Determining Cure Amounts [Docket No. 110] (the “Bidding

   Procedures Order”). Pursuant to the Bidding Procedures Order, the Court approved the

   Bidding Procedures and granted related relief in connection with a prospective sale of

   substantially all of Flexible’s assets.

           E.      On or about September 29, 2021, eCapital Corp. or its nominee (“eCapital”)

   executed a letter of intent (“LOI”) to acquire the assets of Flexible and become the stalking

   horse bidder for a sale of such assets pursuant to section 363 of the Bankruptcy Code. A

   true and correct copy of the LOI was introduced at the bid procedures hearing as Debtors’

   Exhibit 16.

           F.      In the Bidding Procedures Order, the Court established a deadline of 5:00

   p.m. prevailing Central Time, October 25, 2021, by which eCapital and Flexible must

   execute and file with the Court an asset purchase agreement for the purchase and sale of

   substantially all of Flexible’s assets, in order for eCapital to be considered the stalking horse

   bidder for such assets. Flexible and eCapital Commercial Finance Corp. and its affiliates, as

   the nominee of eCapital (“eCapital Commercial”), did in fact execute and file with the Court

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   such an asset purchase agreement by such deadline. Therefore, in accordance with the

   Bidding Procedures Order, eCapital Commercial is the stalking horse bidder for such assets.

          G.      In addition to the stalking horse bid submitted by eCapital, a Qualifying Bid

   was timely submitted by the following party: Encore Funding II, LLC (“Encore”, and

   collectively with eCapital, the “Qualifying Bidders”).

          H.      On November 5, 2021, the Debtors conducted the Auction in accordance with

   the terms of the Bidding Procedures Order. Subsequent to the Auction, the Debtors

   determined that eCapital Factoring (Holding) Corp., an affiliate of eCapital Commercial (the

   “Purchaser”) had submitted the highest and best offer for Flexible’s assets. Such offer has

   been memorialized in an Asset Purchase Agreement (the “APA”) for the purchase and sale

   of assets identified in the APA (the “Purchased Assets”), including certain executory

   contracts identified in the APA (the “Assigned Contracts”). The Purchased Assets comprise

   substantially all of Flexible’s assets. The Purchaser and Flexible executed the APA on or

   about November 1, 2021. A true and correct copy of the APA is attached hereto as Exhibit

   A.

          I.      Subsequent to the Auction, the Debtors determined that Encore (the “Back-

   up Bidder”) had submitted the next highest or otherwise next best offer for Flexible’s assets

   and qualifies as the Back-up Bidder pursuant to the terms of the Bidding Procedures. Such

   offer has been memorialized in an Asset Purchase Agreement, executed on or about

   November 2, 2021 (as modified on the record at the Auction, the “Back-up Bidder APA”) for

   the purchase and sale of assets identified in the Back-up Bidder APA.

                                        Adequacy of Notice

          J.      Actual written notice of the Sale Hearing, the Auction, the Motion, the Sale,

   and the assumption and assignment of the Assigned Contracts, and a reasonable

   opportunity to object or be heard with respect to the Motion and the relief requested therein,

   have been afforded to all known interested persons and entities, including, but not limited to

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   the following parties: (a) the United States Trustee; (b) counsel to Umpqua Bank; (c) Bison

   Investors, LLC or its counsel; (d) counsel to Medalist Partners Opportunity Master Fund II-A,

   L.P.; (e) all taxing authorities having jurisdiction over any of the Purchased Assets, including

   the Internal Revenue Service; (f) the United States Department of Justice; (g) all parties that

   have requested special notice pursuant to Bankruptcy Rule 2002; (h) all persons known or

   reasonably believed to have asserted a Lien on any of the Purchased Assets; (i) the

   counterparties to each of the Assigned Contracts (the “Contract Counterparties”); (j) all

   persons known or reasonably believed to have expressed an interest in acquiring the

   Purchased Assets; and (k) counsel to eCapital.

          K.      In accordance with the provisions of the Bidding Procedures Order, the

   Debtors have served notice upon the Contract Counterparties: (i) that the Debtors seek to

   assume and assign certain executory contracts and unexpired leases on the Closing Date;

   and (ii) of the relevant cure amounts. The service of such notice was good, sufficient and

   appropriate under the circumstances, and no further notice need be given in respect of

   establishing a cure amount for the Assigned Contracts. Each of the Contract Counterparties

   has had an adequate opportunity to object to the cure amounts set forth in the notice.

          L.      The Sale Notice provided all interested parties with timely and proper notice

   of the Sale, the Sale Hearing, and the Auction.

          M.      As evidenced by the certificates of service previously filed with this Court,

   proper, timely, adequate, and sufficient notice of the Motion, the Auction, the Sale Hearing,

   and the Sale has been provided in accordance with sections 102(1), 363, and 365 of the

   Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, and 9014. The Debtors also

   have complied with all obligations to provide notice of the Motion, the Auction, the Sale

   Hearing, and the Sale required by the Bidding Procedures Order. The notices described

   above were good, sufficient, and appropriate under the circumstances, and no other or



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   further notice of the Motion, the Auction, the Sale Hearing, the Sale, or the assumption and

   assignment of the Assigned Contracts is required.

           N.      The disclosures made by the Debtors concerning the APA, the Auction, the

   Sale, the Sale Hearing, and the assumption and assignment of the Assigned Contracts were

   good, complete, and adequate.

                                    Good Faith of the Purchaser

           O.      The Purchaser is not an “insider” of either of the Debtors, as that term is

   defined in section 101(31) of the Bankruptcy Code.

           P.      The Purchaser is purchasing the Purchased Assets in good faith and is a

   good faith buyer within the meaning of section 363(m) of the Bankruptcy Code, and is

   therefore entitled to the full protection of that provision, and otherwise has proceeded in

   good faith in all respects in connection with this proceeding in that, inter alia: (i) the

   Purchaser recognized that the Debtors were free to deal with any other party interested in

   acquiring the Purchased Assets; (ii) the Purchaser complied with the provisions in the

   Bidding Procedures Order; (iii) the Purchaser agreed to subject its bid to the competitive

   bidding procedures set forth in the Bidding Procedures Order; (iv) all payments to be made

   by the Purchaser and other agreements or arrangements entered into by the Purchaser in

   connection with the Sale have been disclosed; (v) the Purchaser has not violated section

   363(n) of the Bankruptcy Code by any action or inaction; (vi) no common identity of directors

   or controlling equity holders exists between the Purchaser and either of the Debtors; and

   (vii) the negotiation and execution of the APA was at arms’ length and in good faith.

                                        Highest and Best Offer

           Q.      The Debtors conducted the Auction in accordance with, and have otherwise

   complied in all respects with, the Bidding Procedures Order. The auction process set forth in

   the Bidding Procedures Order afforded a full, fair and reasonable opportunity for any person

   or entity to make a higher or otherwise better offer to purchase the Purchased Assets. The

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   Auction was duly noticed and conducted in a non-collusive, fair, and good faith manner, and

   a reasonable opportunity has been given to any interested party to make a higher and better

   offer for the Purchased Assets.

          R.      The APA constitutes the highest and best offer for the Purchased Assets and

   will provide a greater recovery for the Debtors’ estates than would be provided by any other

   available alternative. The Debtors’ determination that the APA constitutes the highest and

   best offer for the Purchased Assets constitutes a valid and sound exercise of the Debtors’

   business judgment.

          S.      The APA represents a fair and reasonable offer to purchase the Purchased

   Assets under the circumstances of these chapter 11 cases. No other person or entity or

   group of entities has offered to purchase the Purchased Assets for greater economic value

   to the Debtors’ estates than the Purchaser.

          T.      Approval of the Motion and the APA as set forth in this Order and the

   consummation of the transactions contemplated thereby is in the best interests of the

   Debtors, their creditors, their estates, and other parties in interest.

          U.      The Debtors have demonstrated compelling circumstances and a good,

   sufficient, and sound business purpose and justification for the Sale prior to and outside of a

   plan of reorganization.

                                       No Fraudulent Transfer

          V.      The consideration provided by the Purchaser pursuant to the APA is fair and

   adequate and constitutes reasonably equivalent value and fair consideration under the

   Bankruptcy Code and under the laws of the United States, any state, territory, possession,

   or the District of Columbia.

          W.      The Purchaser is not a mere continuation of the Debtors or their estates and

   there is no continuity between the Purchaser and the Debtors. The Purchaser is not holding

   itself out to the public as a continuation of the Debtors. The Purchaser is not a successor to

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   the Debtors or their estates, and the Sale does not amount to a consolidation, merger or de

   facto merger of the Purchaser and the Debtors.

                                        Validity of Transfer

          X.      The Debtors have full corporate power and authority to execute and deliver

   the APA and all other documents contemplated thereby, and no further consents or

   approvals are required for the Debtors to consummate the transactions contemplated by the

   APA, except as otherwise set forth in the APA.

          Y.      The transfer of each of the Purchased Assets to the Purchaser will be as of

   the Closing Date a legal, valid, and effective transfer of such assets, and vests or will vest

   the Purchaser with all right, title, and interest of the Debtors in and to the Purchased Assets

   free and clear of all Encumbrances accruing, arising or relating thereto at any time prior to

   the Closing Date, except for any assumed liabilities (the “Assumed Liabilities”) under the

   APA.

                                     Section 363(f) is Satisfied

          Z.      The Purchaser would not have entered into the APA and would not

   consummate the transactions contemplated thereby if the sale of the Purchased Assets to

   the Purchaser, and the assumption, assignment, and sale of the Assigned Contracts to the

   Purchaser, were not free and clear of all Encumbrances of any kind or nature whatsoever

   (except the Assumed Liabilities), or if the Purchaser would or in the future could be liable for

   any of such Encumbrances.

          AA.     The Debtors may sell the Purchased Assets free and clear of all

   Encumbrances against the Debtors, their estates or any of the Purchased Assets (except for

   the Assumed Liabilities) because, in each case, one or more of the standards set forth in

   section 363(f)(1)-(5) of the Bankruptcy Code has been satisfied. Those holders of

   Encumbrances against the Debtors, their estates or any of the Purchased Assets who did

   not object, or who withdrew their objections, to the Sale or the Motion are deemed to have

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   consented thereto pursuant to section 363(f)(2) of the Bankruptcy Code. Those holders of

   such Encumbrances who did object fall within one or more of the other subsections of

   section 363(f) and are adequately protected by having their Encumbrances, if any, in each

   instance against the Debtors, their estates or any of the Purchased Assets, attach to the

   cash proceeds of the Sale ultimately attributable to the Purchased Assets in which such

   creditor alleges an interest, in the same order of priority, with the same validity, force and

   effect that such creditor had prior to the Sale, subject to any claims and defenses the

   Debtors and their estates may possess with respect thereto.

                     Assumption and Assignment of the Assigned Contracts

          BB.     The assumption and assignment of the Assigned Contracts pursuant to the

   terms of this Order is integral to the APA and is in the best interests of the Debtors and their

   estates, creditors, and other parties in interest. The Debtors’ decision to assume and assign

   the Assigned Contracts to the Purchaser upon the terms and conditions set forth in the APA

   and this Order constitutes a reasonable exercise of sound and prudent business judgment

   by the Debtors.

          CC.     The respective amounts set forth on Exhibit B annexed hereto are the sole

   amounts necessary under sections 365(b)(1)(A) and (B) and 365(f)(2)(A) of the Bankruptcy

   Code to cure all monetary defaults and pay all actual pecuniary losses under the Assigned

   Contracts (the “Cure Amounts”).

          DD.     Pursuant to the terms of the APA, on or before the Closing Date, the

   Purchaser shall have: (i) cured and/or provided adequate assurance of cure of any

   monetary default existing prior to the Closing Date under any of the Assigned Contracts,

   within the meaning of section 365(b)(1)(A) of the Bankruptcy Code; (ii) provided

   compensation or adequate assurance of compensation to any party for actual pecuniary

   loss to such party resulting from a default prior to the Closing Date under any of the

   Assigned Contracts, within the meaning of section 365(b)(1)(B) of the Bankruptcy Code; and

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   (iii) provided adequate assurance of its future performance under the relevant Assigned

   Contracts within the meaning of sections 365(b)(1)(C), 365(b)(3) (to the extent applicable),

   and 365(f)(2)(B) of the Bankruptcy Code.

                       Compelling Circumstances for an Immediate Sale

           EE.    To maximize the value of the Purchased Assets and preserve the viability of

   the business to which the Purchased Assets relate, it is essential that the Sale of the

   Purchased Assets occur within the time constraints set forth in the APA. Time is of the

   essence in consummating the Sale.

           FF.    Good cause exists for shortening notice of the Motion and the Sale pursuant

   to Bankruptcy Rules 2002(a)(2) and 9006(c)(1), and no party in interest has shown any

   prejudice resulting from such shortening of notice.

           GG.    Given all of the circumstances of these chapter 11 cases and the adequacy

   and fair value of the purchase price under the APA, the proposed Sale of the Purchased

   Assets to the Purchaser constitutes a reasonable and sound exercise of the Debtors’

   business judgment and should be approved.

           HH.    The consummation of the transaction is legal, valid, and properly authorized

   under all applicable provisions of the Bankruptcy Code, including, without limitation, sections

   105(a), 363(b), 363(f), 363(m), 365(b) and 365(f), and all of the applicable requirements of

   such sections have been complied with in respect of the transaction.

           NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

   THAT:

                                        General Provisions

           1.     The relief requested in the Motion is granted and approved, and the Sale

   contemplated thereby and by the APA is approved as set forth in this Order.

           2.     This Court’s findings of fact and conclusions of law set forth in the Bidding

   Procedures Order are incorporated herein by reference.

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          3.      All objections to the Motion or the relief requested therein that have not been

   withdrawn, waived, or settled as announced to this Court at the Sale Hearing or by

   stipulation filed with this Court, and all reservations of rights included therein, are hereby

   overruled on the merits.

                                        Approval of the APA

          4.      The APA and all other ancillary documents, and all of the terms and

   conditions thereof, are hereby approved.

          5.      Pursuant to section 363(b) of the Bankruptcy Code, the Debtors are

   authorized and empowered to take any and all actions necessary or appropriate to

   (a) consummate the Sale of the Purchased Assets to the Purchaser pursuant to and in

   accordance with the terms and conditions of the APA, (b) close the Sale as contemplated in

   the APA and this Order, and (c) execute and deliver, perform under, consummate,

   implement and close fully the APA, together with all additional instruments and documents

   that may be reasonably necessary or desirable to implement the APA and the Sale,

   including any other ancillary documents, or as may be reasonably necessary or appropriate

   to the performance of the obligations as contemplated by the APA and such other ancillary

   documents.

          6.      This Order shall be binding in all respects upon the Debtors, their estates, all

   creditors, all holders of equity interests in any Debtor, all holders of any Claim(s) (whether

   known or unknown) against any Debtor, any holders of Encumbrances against or on all or

   any portion of the Purchased Assets, all Contract Counterparties, the Purchaser and all

   successors and assigns of the Purchaser, and any trustees, if any, subsequently appointed

   in any of the Debtors’ chapter 11 cases or upon a conversion to chapter 7 under the

   Bankruptcy Code of any of the Debtors’ cases. This Order and the APA shall inure to the

   benefit of the Debtors, their estates and creditors, the Purchaser and their respective

   successors and assigns.

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                                 Transfer of the Purchased Assets

          7.      Pursuant to sections 105(a), 363(b), 363(f), 365(b), and 365(f) of the

   Bankruptcy Code, the Debtors are authorized to transfer the Purchased Assets on the

   Closing Date. The Purchased Assets shall be transferred to the Purchaser “as is, where is,

   and with all faults” in accordance with the APA upon and as of the Closing Date. Such

   transfer shall constitute a legal, valid, binding, and effective transfer of such Purchased

   Assets and, upon the Debtors’ receipt of the Purchase Price, shall be free and clear of all

   Encumbrances except any Assumed Liabilities. Upon the Closing, the Purchaser shall take

   title to and possession of the Purchased Assets subject only to any Assumed Liabilities.

   Pursuant to section 363(f) of the Bankruptcy Code, the transfer of title to the Purchased

   Assets, including but not limited to the Assigned Contracts, shall be free and clear of (a) any

   and all Encumbrances except for Assumed Liabilities; and (b) any and all Claims including,

   without limitation, any and all claims pursuant to any successor or successor-in-interest

   liability theory; provided, however, that the Purchaser shall not be relieved of liability with

   respect to the Assumed Liabilities. All Encumbrances shall attach solely to the proceeds of

   the Sale with the same validity, priority, force, and effect that they now have as against the

   Purchased Assets, subject to any claims and defenses the Debtors and their estates may

   possess with respect thereto.

          8.      Except as expressly permitted or otherwise specifically provided by the APA

   or this Order, all persons and entities holding Encumbrances or interests in all or any portion

   of the Purchased Assets (other than the Assumed Liabilities) arising under or out of, in

   connection with, or in any way relating to the Debtors, the Purchased Assets, the operation

   of the Debtors’ business prior to the Closing Date or the transfer of the Purchased Assets to

   the Purchaser, hereby are forever barred, estopped, and permanently enjoined from

   asserting against the Purchaser or its successors or assigns, their property or the

   Purchased Assets, such persons’ or entities’ Encumbrances in and to the Purchased

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   Assets. On the Closing Date, each creditor is authorized and directed to execute such

   documents and take all other actions as may be necessary to release Encumbrances on the

   Purchased Assets, if any, as provided for herein, as such Encumbrances may have been

   recorded or may otherwise exist. The transactions authorized herein shall be of full force

   and effect, regardless of any Debtor’s lack of good standing in any jurisdiction in which such

   Debtor is formed or authorized to transact business. Upon consummation of the transactions

   set forth in the APA, the Purchaser shall be authorized to file termination statements or lien

   terminations in any required jurisdiction to remove any record, notice filing, or financing

   statement recorded to attach, perfect, or otherwise notice any lien or encumbrance that is

   extinguished or otherwise released pursuant to this Order under section 363 and the related

   provisions of the Bankruptcy Code.

          9.      All persons and entities are hereby forever prohibited and enjoined from

   taking any action that would adversely affect or interfere with the ability of the Debtors to sell

   and transfer the Purchased Assets to the Purchaser in accordance with the terms of the

   APA and this Order.

          10.     All persons and entities that are in possession of some or all of the

   Purchased Assets on the Closing Date are directed to surrender possession of such

   Purchased Assets to the Purchaser or its assignee at the Closing.

          11.     A certified copy of this Order may be filed with the appropriate clerk and/or

   recorded with the recorder to act to cancel any of the Encumbrances of record.

          12.     If any person or entity that has filed statements or other documents or

   agreements evidencing Encumbrances on, interests in, all or any portion of the Purchased

   Assets shall not have delivered to the Debtors prior to the Closing, in proper form for filing

   and executed by the appropriate parties, termination statements, instruments of satisfaction,

   releases of liens and easements, and any other documents necessary or desirable to the

   Purchaser for the purpose of’ documenting the release of all Encumbrances, which the

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   person or entity has or may assert with respect to all or any portion of the Purchased Assets,

   the Debtors are hereby authorized and directed, and the Purchaser is hereby authorized, to

   execute and file such statements, instruments, releases and other documents on behalf of

   such person or entity with respect to the Purchased Assets.

           13.      This Order is and shall be binding upon and govern the acts of all persons

   and entities, including, without limitation, all filing agents, filing officers, title agents, title

   companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

   agencies, governmental departments, secretaries of state, federal and local officials, and all

   other persons and entities who may be required by operation of law, the duties of their

   office, or contract, to accept, file, register or otherwise record or release any documents or

   instruments, or who may be required to report or insure any title or state of title in or to any

   lease; and each of the foregoing persons and entities is hereby directed to accept for filing

   any and all of the documents and instruments necessary and appropriate to consummate

   the transactions contemplated by the APA.

                                            Assigned Contracts

           14.      The Debtors are authorized and directed to assume and assign each of the

   Assigned Contracts to the Purchaser free and clear of all Encumbrances, as described

   herein. The payment of the applicable Cure Amounts (if any) by the Purchaser shall

   (a) effect a cure of all defaults existing thereunder as of the Closing Date and

   (b) compensate for any actual pecuniary loss to such Contract Counterparty resulting from

   such default. The Purchaser shall then have assumed the Assigned Contracts and, pursuant

   to section 365(f) of the Bankruptcy Code, the assignment by the Debtors of such Assigned

   Contracts shall not be a default thereunder. After the payment of the relevant Cure Amounts

   by the Purchaser, neither the Debtors nor the Purchaser shall have any further liabilities to

   the Contract Counterparties other than the Purchaser’s obligations under the Assigned

   Contracts that accrue and become due and payable on or after the Closing Date.

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          15.     Any provision in any Assigned Contract that purports to prohibit or condition

   the assignment of such Assigned Contract or allow the party to such Assigned Contract to

   terminate, recapture, impose any penalty, condition on renewal or extension or modify any

   term or condition upon the assignment of such Assigned Contract, constitutes an

   unenforceable anti-assignment provision that is void and of no force and effect. All other

   requirements and conditions under sections 363 and 365 of the Bankruptcy Code for the

   assumption by the Debtors and assignment to the Purchaser of the Assigned Contracts

   have been satisfied. Upon the Closing, in accordance with sections 363 and 365 of the

   Bankruptcy Code, the Purchaser shall be fully and irrevocably vested with all right, title, and

   interest of the Debtors under the Assigned Contracts.

          16.     Upon the Closing and the Purchaser’s payment of the relevant Cure

   Amounts, if any, the Purchaser shall be deemed to be substituted for the Debtors as a party

   to the applicable Assigned Contracts, and the Debtors shall be relieved, pursuant to section

   365(k) of the Bankruptcy Code, from any further liability under the Assigned Contracts.

          17.     Upon the payment of the applicable Cure Amount, if any, the Assigned

   Contracts will remain in full force and effect, and no default shall exist under the Assigned

   Contracts nor shall there exist any event or condition which, with the passage of time or

   giving of notice, or both, would constitute such a default.

          18.     The Purchaser has provided adequate assurance of future performance

   under the relevant Assigned Contracts within the meaning of sections 365(b)(1)(C),

   365(b)(3) (to the extent applicable), and 365(f)(2)(B) of the Bankruptcy Code.

          19.     There shall be no rent accelerations, assignment fees, increases or any other

   fees charged to the Purchaser or the Debtors as a result of the assumption and assignment

   of the Assigned Contracts.

          20.     Pursuant to sections 105(a), 363, and 365 of the Bankruptcy Code, all

   Contract Counterparties are forever barred and permanently enjoined from raising or

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   asserting against the Debtors or the Purchaser any assignment fee, default, breach or claim

   or pecuniary loss, or condition to assignment, arising under or related to the Assigned

   Contracts existing as of the Closing Date or arising by reason of the Closing.

                                       Back-up Bidder APA

          21.     If the Purchaser fails to Close on the Sale of the Purchased Assets as

   provided in the APA, then (1) the sale to the Back-up Bidder pursuant to the terms of the

   Back-up Bidder APA is hereby approved, (2) all findings of fact, conclusions of law and

   decretal provisions made herein with respect to the Purchaser and the APA shall apply with

   the same force and effect to the Back-up Bidder and Back-up Bidder APA, respectively, and

   (3) a true and correct copy of the Back-up Bidder APA shall be filed with this Court no later

   than twelve (12) hours prior to the Closing of the sale of the Purchased Assets to the Back-

   up Bidder.

                                          Sale Proceeds

          22.     Upon the Closing of the sale of the Purchased Assets pursuant to the APA,

   the actual amount of the “Gross Cash Proceeds Available at Close” (as such term is used in

   Debtors’ Exhibit 13 admitted at the Sale Hearing, the “Waterfall Analysis”) shall be

   determined at Closing and shall be disbursed as follows: (a) the full amount of Principal,

   Interest, the State UCC Termination Fee, the Recording Fee, and fees for the Field Exam

   Completed May 2021 (as such terms are used in Agent’s Exhibit 1 admitted at the Sale

   Hearing, the “Payoff Statement”), plus daily interest from the date of the Payoff Statement to

   the date of Closing, if any, as provided in the Payoff Statement, shall be disbursed at

   Closing to the Agent on behalf of the Lenders to be applied to the Pre-Petition Indebtedness

   (as such terms are defined in the Fourth Interim Order Granting Debtors’ Emergency Motion

   for Entry of Interim and Final Orders Authorizing the Use of Cash Collateral and Granting

   Adequate Protection [Docket No. 183] (the “Cash Collateral Order”); (b) $584,786.00 (the

   “Candlewood Fees”) shall be disbursed to Forshey Prostok, LLP to be held in its IOLTA

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   Account and thereafter paid to Candlewood Partners, LLC upon entry of an order approving

   the Candlewood Fees; (c) the full amount of the Professional Fees and Additional

   Contractual Fees (as defined below) shall be deposited in the Blocked Account pending

   allowance or disallowance of such fees as provided below; and (d) the balance of the actual

   Gross Cash Proceeds Available at Close shall be disbursed at Closing to the Debtors and

   shall be subject to the terms of the Cash Collateral Order.

          23.     Payment of the professional fees and expenses identified in the Payoff

   Statement for McGuireWoods LLP and Haynes and Boone, LLP (the “Professional Fees”)

   shall be subject to the terms of paragraph 5 of the Cash Collateral Order, such that a

   summary invoice of the proposed Professional Fees shall be served upon counsel for the

   Debtors and the United States Trustee, and such parties shall have a ten (10) day period to

   request a determination of the reasonableness of the Professional Fees. If no request to

   determine the reasonableness of the Professionals Fees is filed, the Professional Fees shall

   be paid from funds deposited in the Blocked Account. If a request to determine

   reasonableness is filed, the Professional Fees shall be paid from funds deposited in the

   Blocked Account to the extent allowed pursuant to Court Order.

          24.     The Voluntary Reduction Fee, the Unused Line Fee, and costs attributed to

   Brandlin & Associates (as such terms are used in the Payoff Statement) (the “Additional

   Contractual Fees”) shall be payable from funds deposited in the Blocked Account upon

   agreement of the Debtors and the Agent or to the extent determined by further Court Order

   to be allowable by the Pre-Petition Loan Documents (as defined in the Cash Collateral

   Order), applicable law and applicable Orders of this Court.

          25.     Upon Closing and the disbursement of funds as provided herein, (a) the

   Debtors’ obligations to the Agent on behalf of the Lenders, and the Debtors’ obligations to

   Umpqua Bank shall be deemed fully paid and satisfied, except for the payment of the

   Professional Fees and Additional Contractual Fees to the extent such amounts are

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   ultimately allowed as provided herein; (b) the Agent on behalf of the Lenders and Umpqua

   Bank will hold no security interest in any of the Debtors’ assets, including with respect to

   cash and cash equivalents, except the cash collateral that shall be deposited in the Blocked

   Account pursuant to this Order; and (c) Umpqua Bank, as agent for the first lienholders,

   shall be deemed “paid in full” for purposes of the Order (I) Authorizing and Approving the

   Debtors’ Key Employee Incentive Plan and Key Employee Retention Plan; and (II) Granting

   Related Relief [Docket No. 184].

                                          Other Provisions

          26.     Effective upon the Closing Date and except as otherwise provided by

   stipulations filed with or announced to this Court with respect to a specific matter, all

   persons and entities are forever prohibited and permanently enjoined from commencing or

   continuing in any manner any action or other proceeding, whether in law or equity, in any

   judicial, administrative, arbitral or other proceeding against the Purchaser, its successors

   and assigns, or the Purchased Assets, with respect to any (a) Encumbrance arising under,

   out of, in connection with or in any way relating to the Debtors, the Purchaser, the

   Purchased Assets, or the operation of the Purchased Assets prior to the Closing of the Sale,

   or (b) successor liability, including, without limitation, the following actions: (i) commencing

   or continuing in any manner any action or other proceeding against the Purchaser, its

   successors or assigns, assets or properties; (ii) enforcing, attaching, collecting or recovering

   in any manner any judgment, award, decree or order against the Purchaser, its successors,

   assets or properties; (iii) creating, perfecting or enforcing any Encumbrance against the

   Purchaser, its successors or assigns, assets or properties; (iv) asserting any setoff, right of

   subrogation or recoupment of any kind against any obligation due the Purchaser or its

   successors or assigns; (v) commencing or continuing any action, in any manner or place,

   that does not comply or is inconsistent with the provisions of this Order or other orders of

   this Court, or the agreements or actions contemplated or taken in respect thereof; or

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   (vi) revoking, terminating or failing or refusing to issue or renew any license, permit or

   authorization to operate any of the Purchased Assets or conduct any of the businesses

   operated with the Purchased Assets.

          27.     Except for the Assumed Liabilities or as otherwise expressly set forth in this

   Order or the APA, the Purchaser shall not have any liability or other obligation of the

   Debtors arising under or related to any of the Purchased Assets. Without limiting the

   generality of the foregoing, and except as otherwise specifically provided herein or in the

   APA, the Purchaser shall not be liable for any claims against the Debtors or any of its

   predecessors or affiliates, and the Purchaser shall have no successor or vicarious liabilities

   of any kind or character, including, but not limited to, any theory of antitrust, environmental,

   successor or transferee liability, labor law, de facto merger or substantial continuity, whether

   known or unknown as of the Closing Date, now existing or hereafter arising, whether

   asserted or unasserted, fixed or contingent, liquidated or unliquidated with respect to the

   Debtors or any obligations of the Debtors arising prior to the Closing Date, including, but not

   limited to, liabilities on account of any taxes arising, accruing or payable under, out of, in

   connection with, or in any way relating to the operation of any of the Purchased Assets prior

   to the Closing. The Purchaser has given substantial consideration under the APA for the

   benefit of the holders of any Encumbrance. The consideration given by the Purchaser shall

   constitute valid and valuable consideration for the releases of any potential claims of

   successor liability of the Purchaser, which releases shall be deemed to have been given in

   favor of the Purchaser by all holders of Encumbrances against or interests in the Debtors or

   any of the Purchased Assets.

          28.     The transactions contemplated by the APA are undertaken by the Purchaser

   without collusion and in good faith, as that term is used in section 363(m) of the Bankruptcy

   Code. Accordingly, the reversal or modification on appeal of the authorization provided

   herein to consummate the Sale shall not affect the validity of the Sale (including the

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   assumption and assignment of the Assigned Contracts), unless such authorization and

   consummation of such Sale are duly stayed pending such appeal. The Purchaser is a good

   faith buyer within the meaning of section 363(m) of the Bankruptcy Code and, as such, is

   entitled to the full protections of section 363(m) of the Bankruptcy Code.

          29.     Nothing contained in any plan of reorganization or liquidation, or order of any

   type or kind entered in (a) these chapter 11 cases, (b) any subsequent chapter 7 case into

   which any such chapter 11 case may be converted, or (c) any related proceeding

   subsequent to entry of this Order, shall conflict with or derogate from the provisions of the

   APA or the terms of this Order.

          30.     Pursuant to Bankruptcy Rules 7062, 9014, 6004(h), and 6006(d), this Order

   shall be effective immediately upon entry, and the Debtors and the Purchaser are authorized

   to close the Sale immediately upon entry of this Order.

          31.     Nothing in this Order or the APA approves or provides for the transfer to the

   Purchaser of any avoidance claims (whether under chapter 5 of the Bankruptcy Code or

   otherwise) of the Debtors’ estates.

          32.     No bulk sales law or any similar law of any state or other jurisdiction applies

   in any way to the Sale.

          33.     There are no brokers involved in consummating the Sale, and no brokers’

   commissions are due.

          34.     The failure specifically to include any particular provision of the APA in this

   Order shall not diminish or impair the effectiveness of such provision, it being the intent of

   this Court that the APA be authorized and approved in its entirety.

          35.     The APA and any related agreements, documents or other instruments may

   be modified, amended, or supplemented by the parties thereto and in accordance with the

   terms thereof without further order of this Court, provided that any such modification,

   amendment or supplement does not have a material adverse effect on the Debtors’ estates.

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                36.           This Court shall retain jurisdiction to, among other things, interpret,

   implement, and enforce the terms and provisions of this Order and the APA, all

   amendments thereto and any waivers and consents thereunder and each of the agreements

   executed in connection therewith to which either of the Debtors is a party or which has been

   assigned by the Debtors to the Purchaser, and to adjudicate, if necessary, any and all

   disputes concerning or relating in any way to the Sale.

                37.           All time periods set forth in this Order shall be calculated in accordance with

   Bankruptcy Rule 9006(a).

                38.           To the extent that this Order is inconsistent with any prior order or pleading

   with respect to the Motion in these chapter 11 cases, the terms of this Order shall govern.

                39.           To the extent there are any inconsistencies between the terms of this Order

   and the APA (including all ancillary documents executed in connection therewith), the terms

   of this Order shall govern.

                                                                 ### END OF ORDER ###
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                                 EXHIBIT A

                 ASSET PURCHASE AGREEMENT




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                                ASSET PURCHASE AGREEMENT

          This Asset Purchase Agreement (the “Agreement”), dated as of November 1, 2021, is made
  by and between (1) eCapital Factoring (Holding) Corp., a Florida corporation (the “Buyer”), and
  (2) Flexible Funding Ltd. Liability Co., a California limited liability company (the “Seller”).

                                              RECITALS

         WHEREAS, the Seller is engaged in the business of providing asset-based loans and
  invoice factoring services (the “Business”);

         WHEREAS, the Seller desires to sell and the Buyer desires to purchase the Purchased
  Assets (as defined below), subject to the terms and conditions of this Agreement;

          WHEREAS, on September 19, 2021, Seller and its affiliate filed a petition seeking relief
  under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) which is being
  jointly administered in the chapter 11 bankruptcy case styled In re: Flexible Funding, Ltd. Liability
  Co., et al, Case No. 21-42215-MXM-11 (the “Bankruptcy Case”) currently pending in the United
  States Bankruptcy Court for the Northern District of Texas, Fort Worth Division (the “Bankruptcy
  Court”);

         WHEREAS, the Buyer and the Seller intend to effectuate the transactions contemplated by
  this Agreement through a sale of the Purchased Assets free and clear of all liens and encumbrances
  pursuant to sections 105, 363 and 365 of the Bankruptcy Code; and

        WHEREAS, the Seller’s ability to consummate the transactions contemplated by this
  Agreement is subject to, among other things, the entry of the Sale Order (as defined below).

          NOW, THEREFORE, in consideration of the respective covenants and promises contained
  herein and for other good and valuable consideration, the receipt and adequacy of which are hereby
  acknowledged, the parties hereto agree as follows:

                                             ARTICLE I.
                                            DEFINITIONS

            1.1   Defined Terms. As used herein, the terms below shall have the following
  meanings. Any of such terms, unless the context otherwise requires, may be used in the singular
  or plural, depending upon the reference.

                 “Accounts” means all outstanding accounts receivable previously purchased by the
  Seller pursuant to the Customer Contracts and standing as assets on the Seller’s books.

               “Account Debtor” means any of those customers of the Business who are party to
  Customer Contracts.

                 “Affiliate” of any particular Person shall mean any other Person that, directly or
  indirectly through one or more intermediaries, controls, or is controlled by or under common
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  control with such Person, and the term “control” (including the terms “controlled by” and “under
  common control with”) means the possession, directly or indirectly, of the power to direct or cause
  the direction of the management and policies of such Person, whether through ownership of voting
  securities, by contract or otherwise.

                 “Approved ABL Assets” means all asset-based loans owing to the Seller that were
  originated pursuant to Customer Contracts.

                 “Approved A/R Assets” means all Receivables related to the Customer Contracts.

                 “Assumed Contracts” means the Customer Contracts, the Employment Contracts,
  the IP Contracts and any other contracts listed on the Purchased Assets Schedule attached hereto
  as Schedule 1.

                   “Assumed Liabilities” means those liabilities and obligations of performance
  associated with the Purchased Assets, but only to the extent such liabilities and obligations arise
  during and pertain to periods after the Effective Time, including, without limitation, those
  contractual liabilities and obligations of performance first arising after the Effective Time under
  the express terms of each Assumed Contract, other than any performance obligation arising out of,
  related to, in the nature of or caused by (a) any default, failure to perform, breach of contract or
  breach of warranty by the Seller or its Affiliates occurring or arising prior to the Effective Time or
  (b) liabilities arising as a result of the Seller’s consummation of the transactions contemplated by
  this Agreement.

                 “Auction” means the process by which competing bids on the Transferred Assets
  are submitted on the Auction Date as contemplated by the Bidding Procedures.

                 “Auction Date” means November 5, 2021, or such other date that the Court
  approves for the Auction.

                  “Auction Date Certificate” means the certificate as to the Purchase Price delivered
  by the Seller substantially in the form of Exhibit A-1 attached hereto.

                   “Bad Debt” means all Accounts that are not collectable solely because the
  applicable Account Debtor (a) had died or suspended business, (b) had filed or has had filed against
  it a petition in bankruptcy or an application for relief under any Debtor Relief Laws, or (c) had
  appointed a trustee, custodian or receiver for any assets of such Account Debtor, or (d) had made
  an assignment for the benefit of creditors or had become insolvent or was generally to pay its debts
  (including its payroll) as such debts became due.

                 “Bidding Procedures” means the procedures governing the submission, evaluation
  and qualification of competing bids on the Transferred Assets (as hereinafter defined), and the
  auction among qualified bidders for the purchase of such assets, as described in the Bidding
  Procedures Order, or as otherwise required or approved by the Bankruptcy Court.

               “Bidding Procedures Motion” means a motion filed by the Seller in the Bankruptcy
  Court seeking approval of the sale process described in the Sale Motion and the Bidding
  Procedures.

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                 “Bidding Procedures Order” means an order of the Bankruptcy Court approving the
  sale process described in the Sale Motion and the Bidding Procedures.

                “Books and Records” means all books and records of the Seller relating to the
  Business and the Purchased Assets.

                  “Closing Payment” means the total amount payable by the Buyer at Closing as
  specified in the Purchase Price Certificate.

                 “Code” means the Internal Revenue Code of 1986, as amended, and the rules and
  regulations thereunder.

                  “Court Order” means any judgment, writ, consent decree, injunction,
  determination, ruling or order of any federal, state or local court or governmental authority that is
  binding on any Person or its property under applicable law.

                 “Customer Contracts” means those asset-based loan or factoring agreements
  between the Seller and the customers of the Business specified on the Customer Contracts section
  of the Purchased Assets Schedule attached hereto as Schedule 1, including, without limitation, any
  accounts receivable or other sums that may be owed to the Seller thereunder as of the Closing, and
  any Liens, claims, deposits, prepayments, warranties, causes of action, rights of recovery, set-off
  or recompense of any kind in connection therewith, and any guarantees of any third parties given
  in connection therewith.

                “Customer Deposits” means those balances, if any, maintained by the Seller in
  connection with Customer Contracts.

                  “Debtor Relief Laws” means the Bankruptcy Code, and all other liquidation,
  conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement,
  receivership, insolvency, reorganization, or similar debtor relief laws of the United States or other
  applicable jurisdictions from time to time in effect.

                 “Effective Time” means 12:01 am on the Closing Date (as defined in Section 3.1).

                 “Escrow Agreement” means that certain Escrow Agreement, to be dated as of the
  Closing Date, by and among [Forshey Prostok LLP] (“Escrow Agent”), the Buyer and the Seller,
  in the form agreed by the Buyer, the Seller and the Escrow Agent.

                 “Excluded Accounts” means all Accounts listed on the Excluded Accounts
  Schedule attached hereto as Schedule 2.

                 “Excluded Assets” means:

                         (a)     all Excluded Accounts;

                         (b)     all cash or cash equivalents of the Seller;



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                         (c)     all claims for refunds of Tax and other governmental charges or
  assessments paid by the Seller or its Affiliates and arising from or pertaining to periods, activities,
  operations or events relating to the Business occurring prior to the Closing Date; and

                          (d)     all assets of the Seller relating to Instapay Flexible LLC.

                  “Excluded Liabilities” means any liabilities or obligations of any kind or nature
  whatsoever of the Seller not expressly included in the Assumed Liabilities. Excluded Liabilities
  includes, without limitation, the following liabilities and obligations of the Seller, in each case,
  whether known or unknown, whether asserted or unasserted, whether absolute or contingent,
  whether accrued or unaccrued, whether liquidated or unliquidated and whether due or to become
  due: (i) resulting from, arising out of, relating to, in the nature of, or caused by (A) the Seller’s
  liabilities or obligations under this Agreement and other documents executed in connection
  herewith, (B) Taxes for taxable periods ending on or prior to the Closing Date, and for any taxable
  periods beginning before or on and ending after the Closing Date, Taxes for the portions of such
  taxable periods ending on the Closing Date, (C) any Indebtedness, (D) any Excluded Assets, (E)
  breach of contract, breach of warranty, tort, infringement, or violation of Law occurring prior to
  the Effective Time, (F) earned but unpaid compensation of any kind of any employees of the Seller,
  including paid-time off, commission payments, officer or employee bonuses, profit-sharing plans
  or payments or other employee benefits, including any severance pay, insurance, supplemental
  pension, deferred compensation, “stay” or other similar incentive bonuses, change-in-control
  bonuses or other bonuses or compensation related in any way to the execution, delivery or
  performance of this Agreement, retirement and any other benefits, (G) any employment, consulting
  or independent contractor agreement not included in the Assumed Contracts, (H) any benefit plan
  or arrangement with respect to which the Seller or its Affiliates have any liability, (I) any liabilities
  or obligations arising or occurring prior to the Effective Time, including with respect to Purchased
  Assets but specifically excluding the Assumed Liabilities, (J) any Proceedings to which the Seller
  is or has been a party, (K) any sum owed by the Seller to any Affiliate, officer, director, or
  shareholder of the Seller or any of their respective Affiliates, (L) any liability arising out of or
  relating to services provided by the Seller in connection with the Business prior to the Effective
  Time, (M) any liabilities relating to any insurance adjustments or (N) any other liability, obligation,
  claim, cost or expenses arising out of facts, events, circumstances, actions or inactions occurring
  prior to the Effective Time.

                 “Final Order” means an order of the Bankruptcy Court in the Bankruptcy Case
  which (a) shall not have been reversed, stayed, modified or amended and with respect to which (i)
  the time to appeal from or seek review or rehearing of such order shall have expired; and (ii) no
  motion for rehearing, reconsideration, amendment or new trial is pending; or (b) although subject
  to appeal, rehearing, reconsideration, amendment, new trial or otherwise subject to review, no stay
  of the order being appealed from has been obtained, whether by supersedeas bond, collateral
  security or otherwise.

                “Final Notice” means a notice distributed in accordance with the Bidding
  Procedures regarding the transactions contemplated by this Agreement and the Sale Order.

                 “Goodwill” means all goodwill associated with the Business and the Purchased
  Assets, together with the exclusive right to represent to third parties that the Buyer is the successor

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  to the Business, including, without limitation, the right, at the Buyer’s sole discretion, to hire any
  employees or contractors previously employed by or performing services for the Seller at any time
  prior to the Effective Time.

                  “Indebtedness” means (a) any liability or obligation of the Seller created or assumed
  by the Seller (i) for borrowed money, (ii) evidenced by a bond, note, debenture or similar
  instrument (including a purchase money obligation, deed of trust or mortgage) given in connection
  with the acquisition of, or exchange for, any property or assets, (iii) for the payment of money as
  lessee under leases that should be, in accordance with generally accepted accounting principles,
  recorded as capital leases for financial reporting purposes, (iv) for the reimbursement of any
  obligor on any letter of credit, banker’s acceptance or similar credit transaction, (v) for the deferred
  purchase price of property, goods or services (other than trade payables or accruals incurred in the
  ordinary course of business, but including any deferred purchase price Liabilities, earnouts,
  contingency payments, installment payments, seller notes, promissory notes, or similar Liabilities,
  in each case, related to past acquisitions by the Seller and, for the avoidance of doubt, in each case,
  whether or not contingent), (vi) in respect of deferred compensation for services, or (vii) under
  interest rate or currency swap transactions (valued at the termination value thereof); (b) any
  liability or obligation described in the preceding clause (a) of any other Person that is guaranteed
  as to payment of principal or interest by the Seller or in effect guaranteed by the Seller through an
  agreement, contingent or otherwise, to purchase, repurchase or pay the related indebtedness or to
  pledge any security therefor; (c) any liability or obligation secured by a Lien upon any of the
  Purchased Assets and/or upon which liabilities or obligations the Seller customarily pays interest
  or principal, whether or not the Seller assumed or become liable for the payment of such liabilities
  or obligations; and (d) any amendment, renewal, extension, revision or refunding of any such
  liability or obligation.

                  “IP” means any and all (a) intellectual property rights in or relating to software
  (including, without limitation, source code, executable code, data, databases and related
  documentation), schematics, firmware and technology, data and documentation used by or for the
  Business, (b) trademarks, service marks, trade dress, logos, slogans, tradenames, service names,
  internet domain names and rights in telephone numbers used by or for the Business, together with
  all translations, adaptations, derivations and combinations thereof and including all goodwill
  associated therewith, and all registrations, applications for registration and renewals in connection
  therewith, including, without limitation, those listed in the IP Schedule attached hereto as Schedule
  3 (the “IP Schedule”), and any derivation or d/b/a names, (c) copyrights and applications,
  registrations and renewals in connection therewith used by or for the Business, (d) mask works
  and registrations and applications for registration in connection therewith used by or for the
  Business, (e) trade secrets, negative trade secrets and confidential business information, whether
  patentable or non-patentable and whether or not reduced to practice used by or for the Business
  including, without limitation, ideas, know-how, formulas, moral rights, compositions,
  manufacturing and product processes and techniques, research and development information,
  technical data, designs, drawings, specifications, copyrightable works, financial, marketing and
  business data, pricing and cost information, business and marketing plans and proposals and
  customer and supplier lists and information, (f) rights in internet web sites, internet domain names
  and keywords used by or for the Business, including, without limitation, those listed in the IP
  Schedule, (g) other tangible and intangible proprietary information, materials and rights relating
  to any of the foregoing including without limitation associated goodwill and remedies against

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  infringements thereof and rights of protection of an interest therein under the laws of all
  jurisdictions, (h) documents, records and files relating to design, end user documentation,
  manufacturing, quality control, sales, marketing or customer support for all intellectual property
  and proprietary rights described in (a) through (g) above, (i) copies and tangible embodiments all
  intellectual property and proprietary rights described in (a) through (g) above, and (j) all license
  and similar rights in any third-party product or any third-party intellectual property and proprietary
  rights of the types described in (a) through (i) above. For the avoidance of doubt, IP does not
  include any intellectual property related to any Excluded Assets.

                  “IP Contracts” means those contracts relating to the IP specified in the IP Contracts
  section of the Purchased Assets Schedule attached hereto as Schedule 1.

               “Knowledge” means the actual knowledge of the directors (or limited liability
  company or other entity equivalent) and officers of the applicable party.

                 “Laws” means any laws, statutes, ordinances, regulations, rules, court decisions and
  orders of any foreign, federal, state or local government.

                 “Liabilities” means any direct or indirect liability, indebtedness, obligation,
  commitment, expense, claim, guaranty or endorsement of or by any Person of any type, whether
  accrued, absolute, contingent, matured, unmatured or other.

                  “Liens” means any lien, encumbrance, pledge, mortgage, deed of trust, security
  interest, claim, lease, charge, option, right of first refusal, or similar agreement, encumbrance or
  any other restriction or limitation whatsoever.

                  “Material Adverse Effect” means (a) with respect to the Business or the Purchased
  Assets, any material adverse effect or adverse change in the Business and/or the Purchased Assets
  or in the ability of the Seller to consummate the transactions contemplated hereby, and (b) with
  respect to the Buyer, any material adverse effect or adverse change in the assets, Liabilities or
  operations of the Buyer or on the ability of the Buyer to consummate the transactions contemplated
  hereby.

                  “Ordinary Course of Business” or any similar phrase shall mean the ordinary course
  of the Business consistent with the Seller’s past practice; provided, however, that any action taken
  by the Seller that is contemplated by this Agreement shall be deemed to be in the Ordinary Course
  of Business.

                  “Person” means an individual, corporation, partnership, association, trust or other
  entity, including any governmental agency.

               “Premium” means an amount equal to fifteen percent (15%) of the Client Portfolio
  Amount specified in the Auction Day Certificate.

                  “Proceedings” means any action, claim, suit, litigation or proceeding filed with any
  federal, State or local court or governmental authority.



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                  “Purchase Price” means an amount equal to (a) as of the Auction Date, the
  aggregate of (i) the net funds employed with respect to the Approved A/R Assets and (ii) the
  outstanding principal amount of the Approved ABL Assets as per the “Data Tapes” generated by
  Seller’s factoring software (the “Data Tapes”), less any Bad Debts, less any Term Loans and less
  any Special Reserves (such amount, the “Client Portfolio Amount”), plus (b) the Premium as
  specified in the Auction Date Certificate delivered by the Seller.

                 “Purchase Price Certificate” means the certificate substantially in the form of
  Exhibit A-2 attached hereto delivered by the Seller to the Buyer on the Closing Date.

                 “Purchased Assets” means all rights, title, interest, property and assets of every
  kind, character and description, whether tangible or intangible, whether real, personal or mixed,
  whether accrued, contingent or otherwise, of the Seller which are owned, leased or licensed or
  used or held for use by the Seller in connection with the Business, wherever located, other than
  the Excluded Assets. The Purchased Assets shall include, without limitation, the following: the
  Assumed Contracts, the Accounts, the Receivables, the IP, the Goodwill, the Books and Records
  and any additional assets listed as Purchased Assets on the Purchased Assets Schedule attached
  hereto as Schedule 1.

                 “Receivables” means any and all accounts receivable relating to Approved A/R
  Assets.

                  “Representative” shall mean any officer, director, partner, manager, member,
  principal, attorney, agent, employee or other representative.

                  “Return” means any return, declaration, report, claim for refund, information
  return, or statement relating to Taxes, including all attachments thereto and any amendments or
  supplements thereof.

               “Sale Hearing” means the hearing before the Bankruptcy Court to approve this
  Agreement and seeking entry of the Sale Order.

                 “Sale Motion” means a motion filed by Seller in the Bankruptcy Court seeking
  approval of this Agreement and the transactions contemplated herein, including the sale of the
  Transferred Assets, free and clear of all liens, claims, interests and encumbrances.

                   “Sale Order” means an order of the Bankruptcy Court approving the transactions
  contemplated by this Agreement, which order shall be reasonably acceptable in form and substance
  to the Buyer and the Seller, and not be materially inconsistent with the terms of this Agreement,
  which, among other things, (a) approves the transactions and the terms and conditions of this
  Agreement, (b) finds that notice of the hearing concerning approval of this Agreement and of the
  transactions contemplated by this Agreement was given in accordance with applicable provisions
  of the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure, and constitutes such
  notice as is appropriate under the particular circumstances, (c) finds that the Buyer is a “good faith”
  purchaser entitled to the protections afforded by Section 363(m) of the Bankruptcy Code, (d)
  provides that the transactions contemplated by this Agreement are not subject to avoidance


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  pursuant to Section 363(n) of the Bankruptcy Code, and (e) provides for the vesting of the
  Purchased Assets in the Buyer, free and clear of all liens, claims and encumbrances.

                “Sale Order Effective Date” means the first day on which the Sale Order has been
  entered and is not subject to any stay of effectiveness, whether such stay is prescribed by
  Bankruptcy Rule 6004(h), Bankruptcy Rule 6006(d), or any Court Order.

                “Special Reserve” means any reserve that the policies of the Buyer or the Seller (as
  the case may be) reasonably require to be recorded in respect of a doubtful account included in the
  Accounts assigned by any single customer to the Seller.

                  “Tax” shall mean any federal, state, local or foreign income, gross receipts,
  franchise, estimated, alternative minimum, add-on minimum, sales, use, transfer, production, ad
  valorem, real property gains, registration, profits, value added, excise, natural resources,
  severance, stamp, occupation, premium, windfall profit, environmental, stamp, customs, duties,
  real property, personal property, capital stock, social security (or similar), unemployment,
  disability, payroll, license, lease, service, service use, employment, withholding, or other tax, fee,
  assessment, or charge of any kind whatsoever, together with any interest, penalties or additions to
  tax or additional amounts in respect of the foregoing, whether disputed or not, and including any
  obligations to indemnity or otherwise assume or succeed to the Tax liability of any other Person.

                 “Term Loan” means any asset-based loan identified as such in the Auction Date
  Certificate based on the Data Tapes.



                                      ARTICLE II.
                        PURCHASE AND SALE OF PURCHASED ASSETS

          2.1 Sale of Purchased Assets. Subject to the entry of the Sale Order by the Bankruptcy
  Court, and upon the terms and subject to the conditions contained herein, at the Closing, the Seller
  shall sell, convey, transfer, assign and deliver to the Buyer, and the Buyer shall purchase and
  acquire from the Seller, all of the Seller’s right, title and interest as of the Closing Date in and to
  the Purchased Assets, for the consideration specified below in Section 2.3. The Buyer
  acknowledges that the Seller is marketing the Purchased Assets and that the Buyer’s offer of the
  Purchase Price is subject to overbid by a third party as further set out in the Bidding Procedures
  Motion.

          2.2     Assumed Liabilities. Upon the terms and subject to the conditions contained
  herein, at the Closing the Buyer shall assume and become responsible for the Assumed Liabilities
  (but only the Assumed Liabilities).

         2.3     Purchase Price.

                 (a)     On the Closing Date, the Seller shall deliver to the Buyer (i) the Purchase
  Price Certificate adjusting the Purchase Price by (x) the addition of any new advances made from
  the Auction Date to the Closing Date, and (y) the subtraction of any collections from the Auction


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  Date to the Closing Date (such adjustments, the “Closing Price Adjustments”, and (ii) any Data
  Tapes and other information to support the Seller’s calculation of the Closing Price Adjustments.

                      (b)      Upon Closing:

                        (i)      The Closing Payment, less a holdback of five percent (5%) of the
  Client Portfolio Amount 1 (the “Holdback”), shall be paid by the Buyer to the Seller by wire transfer
  of immediately available funds; and

                         (ii)   The Holdback shall be deposited with the Escrow Agent and shall
  be released only in accordance with the terms of the Escrow Agreement and the Joint Release
  Instructions (as defined below). The fees and expenses of the Escrow Agent shall be borne by the
  Buyer and Seller in equal amounts.

                  (c)     Subject to the provisions of Section 9.3, upon the Closing, all Liens of the
  Seller on the Accounts and other assets of the customers of its Business under the terms of the
  Customer Contracts shall be automatically assigned to the Buyer for the Buyer’s sole and exclusive
  benefit, including the amount of any Customer Deposits. The Seller authorizes the Buyer to file
  Uniform Commercial Code (“UCC”) amendments assigning to Buyer all UCC financing
  statements, as applicable, filed by the Seller on customers who are parties to the Customer
  Contracts. If requested in writing by the Buyer, the Seller will execute letters which rescind any
  prior notices to the account debtors under the Accounts and direct such account debtors to make
  any and all future payments on Accounts directly to the Buyer (or as the Buyer may otherwise
  direct).

                  (d)     For the period of five (5) days following Closing, the Buyer and the Seller
  shall reconcile the amounts included in the Data Tapes and other data in order (1) to true-up the
  Client Portfolio Amount and related Receivables as of the Closing Date and (2) to identify and
  agree as to the amount, if any, of any Bad Debts, Term Loans and Special Reserves to the extent
  not already incorporated into the calculation of the Closing Payment (collectively, “Deductions”).
  If, during such five (5) day period, the Buyer discovers that the value of the Client Portfolio
  Amount may be higher than the actual value of the Client Portfolio Amount, the Buyer may, by
  notice in writing to the Seller prior to the expiration of such five (5) day period extend such five
  (5) day period to a period of twenty-five (25) days (including the initial five (5) days) for the
  purposes of completing such reconciliation. Once fully reconciled, including identification of
  Deductions, the Buyer and the Seller shall execute a revised Purchase Price Certificate and jointly
  instruct the Escrow Agent in writing (the “Joint Release Instructions”) to release the funds held in
  the escrow account as follows: (i) if the reconciliation results in a reduction in the Closing Payment
  , the Joint Release Instructions shall provide that the net amount of the reduction in the Closing
  Payment shall be released to the Buyer, the remainder of the funds held in escrow shall be released
  to the Seller, and the net amount of the reduction shall be deemed a reduction in the Closing Price
  for all purposes; and (ii) if the reconciliation results in no change to the Closing Payment or an
  increase in the Closing Payment, the Joint Release Instructions shall provide that all funds held in
  escrow shall be released to the Seller, and the Buyer shall pay to the Seller by wire transfer of


  1
      Note that this definition refers back to the NFE on the day of the Auction not as subsequently adjusted.

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  immediately available funds the amount of any such increase in the Closing Paymente within three
  ((3) business days of the execution of the revised Purchase Price Certificate.

                  (e) With respect to any Bad Debts the amount of which is deducted from the
  Closing Payment as above, the Buyer shall reassign the same to the Seller (together with all
  collateral and all UCC and other rights) for collection by the Seller in the Seller’s sole and absolute
  discretion. The Buyer shall have no duty to collect Term Loans but the Buyer shall promptly remit
  to the Seller any amounts that it does in fact receive in respect of Term Loans (whether of principal
  or interest).

                   (f) In the event of any dispute between the parties regarding the calculation of the
  Deductions within such twenty-five (25) day period, the Buyer and the Seller (either together or
  individually) shall submit the unresolved issues to ___[TBA]________ (the “Independent
  Accountant”). For the avoidance of doubt, the Independent Accountant shall not review or make
  any determination with respect to any other matter other than the unresolved issues. Each of the
  parties to this Agreement shall, and shall cause their respective officers, directors, employees, and
  representatives, to provide such information to the Independent Accountant as reasonably
  requested by the Independent Accountant. The Buyer and the Seller shall instruct the Independent
  Accountant to resolve the unresolved issues as promptly as practicable, and in any event within
  thirty (30) calendar days of the date on which such dispute is referred to the Independent
  Accountant, based solely on the provisions of this Agreement and the written submissions by the
  Buyer and the Seller, and not on an independent review; provided, however, that in resolving any
  unresolved issues, the Independent Accountant may not assign a value to any item greater than the
  greatest value for such item claimed by the Buyer or the Seller, or less than the smallest value for
  such item claimed by either the Buyer or the Seller. The fees and expenses of the Independent
  Accountant shall be allocated between Buyer and Seller based on the percentage which the portion
  of the contested amount not awarded to each party bears to the amount actually contested by such
  party. The determination of the Independent Accountant shall be set forth in a written statement
  delivered to the Buyer and the Seller and shall be final, conclusive and binding on the parties
  (except in the case of manifest arithmetic error).

             2.4 Purchase Price Allocation. The Buyer and the Seller shall mutually agree an
  allocation of the Purchase Price (as finally reconciled and any other amounts properly taken into
  account in the amount realized by the Seller or the cost basis to the Buyer) among the Purchased
  Assets in accordance with Code Section 1060 and the Treasury regulations thereunder (and any
  similar provision of state, local, or non-U.S. law, as appropriate) (the “Purchase Price Allocation
  Schedule”), which allocation shall be binding upon the Seller and the Buyer. The Buyer shall
  deliver the Buyer’s proposed Purchase Price Allocation Schedule to the Seller within 60 days after
  the Closing Date or as soon as reasonably practicable and the Buyer and Seller shall use reasonable
  good faith efforts to agree the same as soon as possible and in any event within 30 days after such
  delivery by the Buyer. Any dispute between the Buyer and Seller regarding the Purchase Price
  Allocation Schedule shall be resolved by the Independent Accountant consistent with the
  provisions set forth in Section 2.3(f) above. The Buyer and the Seller and their Affiliates shall
  report, act and file Tax Returns (including, but not limited to Internal Revenue Service Form 8594)
  in all respects and for all purposes consistent with such Purchase Price Allocation Schedule. The
  Seller shall timely and properly prepare, execute, file and deliver all such documents, forms and
  other information as the Buyer may reasonably request to prepare such Purchase Price Allocation

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  Schedule. Neither the Buyer nor the Seller shall take any position (whether in audits, tax returns
  or otherwise) that is inconsistent with such Purchase Price Allocation Schedule unless required to
  do so by applicable law, GAAP, or a final determination of a Governmental Authority of
  competent jurisdiction.

            2.5     Breakup Fee; Expense Reimbursement. In addition to any other terms and
  conditions provided for in the Sale Order, in the event that (a) the Seller does not sell the Purchased
  Assets to the Buyer, (b) the Seller receives and accepts an offer from a third party to purchase the
  Purchased Assets, (c) such transaction is consummated despite the Buyer’s readiness, willingness,
  and ability to consummate the transactions contemplated by this Agreement, and (d) this
  Agreement is terminated in accordance with the provisions of Section 3.4, then the Seller shall pay
  to the Buyer the sum of $300,000.00 (the “Breakup Fee”) as liquidated damages, plus the
  reasonable and actual documented out-of-pocket costs and expenses incurred by the Buyer
  (including reasonable, documented attorney’s fees and costs) in connection with the negotiation,
  preparation and performance of this Agreement and the transaction contemplated hereby
  (collectively, the “Expense Reimbursement”) in an amount not to exceed $300,000.00, such
  payments to be made no later than fourteen (14) days after Buyer has provided to Seller a statement
  reflecting the amount of the Expense Reimbursement, together with documentation reasonably
  substantiating the costs and expenses incurred by Buyer comprising such Expense Reimbursement
  and no valid, substantiated objection being interposed thereto by the Seller. The Seller
  acknowledges that the inclusion in this Agreement of this Section 2.5 is a condition precedent to
  the Buyer’s execution of this Agreement and is necessary to ensure that the Buyer will continue to
  pursue the proposed acquisition of the Purchased Assets, and the Seller acknowledges that the
  Breakup Fee and Expense Reimbursement, if payable hereunder, (a) constitute actual and
  necessary costs and expenses of preserving the Seller’s estate, within the meaning of section 503(b)
  of the Bankruptcy Code, (b) are of substantial benefit to the Seller’s estate by, among other things,
  establishing a bid standard or minimum for other potential purchasers of the Purchased Assets and
  placing estate property in a sales configuration mode attracting other potential purchasers, (c) are
  reasonable and appropriate, including in light of the size and nature of the transactions
  contemplated by this Agreement and the efforts that have been or will be expended by the Buyer,
  notwithstanding that the proposed transaction is subject to higher and better offers, and (d) were
  negotiated by the parties at arm’s-length and in good faith. The parties agree that under the
  circumstances described in this Section 2.5, the Buyer’s losses would be difficult to quantify, and
  that the Breakup Fee and Expense Reimbursement are a reasonable measure and best estimate of
  the Buyer’s damages resulting therefrom.

             2.6 Tax Withholding. The Buyer and any other applicable withholding agent shall be
  entitled to deduct and withhold from the Purchase Price any Taxes or other amounts required under
  the Code or any applicable Law to be deducted and withheld. Any amounts that are so deducted
  or withheld shall be treated for all purposes of this Agreement as having been paid to the Person
  in respect of which such deduction and withholding was made.

                                          ARTICLE III.
                                     CLOSING; TERMINATION

           3.1 Closing. The closing of the transactions contemplated hereby (the “Closing”) shall
  be held at the offices of Forshey Prostok LLP at 777 Main Street, Suite 1150, Fort Worth, TX

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  76102 (or such other place as the parties may agree) no later than the third (3rd) business day
  following the day on which (a) all of the conditions to each party’s obligations hereunder have
  been satisfied or waived and (b) the Sale Order Effective Date has occurred, or at such other date
  as the parties may agree (the “Closing Date”).

         3.2 Closing Transactions. Upon the terms and subject to the conditions set forth in this
  Agreement, following execution of this Agreement and simultaneously with the Closing:

                (a)      To effect the sale and transfer referred to in Section 2.1, the Seller shall
  execute and deliver or cause to be executed and delivered to the Buyer:

                           (i)       a Bill of Sale, in the form of Exhibit B attached hereto, conveying
  all of the Seller’s right, title and interest in and to the Purchased Assets;

                          (ii)    an Assignment of Customer Contracts, in the form of Exhibit C
  attached hereto, to the extent necessary to assign the Customer Contracts included in the Purchased
  Assets; and

                         (iii) an intellectual property assignment agreement, in the form of
  Exhibit D attached hereto, conveying the Seller’s right, title and interest in and to the IP (and any
  IP Contracts) together with such further assignment or instruments as may be reasonably required
  by the Buyer in connection therewith.

                 (b)   The Seller, the Buyer and the Escrow Agent shall have executed and
  delivered the Escrow Agreement.

                  (c)     The Seller shall have terminated, conditionally upon the Closing (with a
  termination date as of the Closing), all of the employees and contractors that previously performed
  work for the Business and shall have paid in full (i) all sums payable to such employees and
  contractors in connection with their respective services prior to the Closing Date and (ii) all payroll
  taxes and other similar Taxes associated with the Seller’s employment of employees or
  engagement of independent contractors for taxable periods ending on or before the Closing Date
  and (iii), insurance premiums and other collateral obligations associated with the Seller’s
  employment of employees or engagement of independent contractors and consultants. The Buyer
  shall have the right, but not the obligation, to hire any or all of the employees or contractors that
  previously performed work for the Business. For the avoidance of doubt, Seller shall not terminate
  any employee before Closing except for cause in the ordinary course of its business.

                  (d)    The Buyer shall deliver by wire transfer of immediately available funds the
  portion of the Closing Price payable to the Seller on the Closing Date pursuant to Section 2.3(b)(i)
  to the bank account(s) specified in writing by the Seller.

                 (e)      The Buyer shall deliver by wire transfer of immediately available funds the
  portion of the Closing Price required to be placed in Escrow on the Closing Date pursuant to
  Section 2.3(b)(ii) to the bank account specified in writing by the Escrow Agent pursuant to the
  Escrow Agreement.


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                 (f)     The Buyer shall deliver to the Seller the certificate described in Section 7.1.

                 (g)     The Seller shall deliver to the Buyer the certificate described in Section 8.1.

           3.3 Form of Instruments. To the extent that a form of any document to be delivered
  hereunder is not attached as an exhibit hereto, such document shall be in form and substance, and
  shall be executed and delivered in a manner, reasonably satisfactory to the Buyer and the Seller.

          3.4 Termination of this Agreement. Subject to the liquidated damages provisions of
  Section 2.5, this Agreement may be terminated at any time prior to the Closing upon the occurrence
  of any one or more of the following:

                 (a)    by the mutual written agreement of the parties;

                  (b)   by the Seller upon written notice from the Seller to the Buyer if the sale
  procedures approved by the Bankruptcy Court permit or require the Seller to proceed with the offer
  of a third-party purchaser;

                (c)     by either party upon written notice from the terminating party to the non-
  terminating party if any law or order becomes final and effective that prohibits or makes illegal
  the consummation of the transactions contemplated by this Agreement;

                  (d)    by the Buyer upon written notice from the Buyer to the Seller if (i) the Seller
  shall have breached or failed to perform in any material respect any of its representations,
  warranties, covenants or other agreements contained in this Agreement (a “Breach”), or (ii) all of
  the conditions to the obligations of the Buyer set forth in Article VIII have been satisfied or waived
  (a “Failed Condition”), as applicable, and the Seller nevertheless refuses or fails to consummate
  the transactions contemplated in this Agreement; provided, that the Seller shall first be entitled to
  ten (10) days’ prior written notice and the opportunity to cure, and provided further that the Buyer
  shall not be in breach in any material respect of this Agreement at such time; or

                  (e)   by the Seller upon written notice from the Seller to the Buyer if (i) the Buyer
  shall have breached or failed to perform in any material respect any of its representations,
  warranties, covenants or other agreements contained in this Agreement, or (ii) if all of the
  conditions set forth in Article VII have been satisfied or waived, as applicable, and the Buyer
  nevertheless refuses or fails to consummate the transactions contemplated in this Agreement;
  provided, that the Buyer shall first be entitled to ten (10) days’ prior notice and the opportunity to
  cure (unless the Breach or Failed Condition that is the basis of Buyer’s termination notice occurs
  or is completed less than 10 calendar days before the Closing Date, in which case no cure period
  shall apply), and provided further that the Seller shall not be in breach in any material respect of
  this Agreement at such time.

                                   ARTICLE IV.
                  REPRESENTATIONS AND WARRANTIES OF THE SELLER


       4.1 Representations and Warranties of the Seller. THE SALE OF THE
   PURCHASED ASSETS IS MADE “AS IS, WHERE IS, AND WITH ALL FAULTS” AND,

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   EXCEPT FOR THE EXPRESS WARRANTIES SET FORTH IN THIS ARTICLE IV,
   THE SELLER MAKES NO REPRESENTATIONS OR WARRANTIES
   WHATSOEVER.

           4.2 Authority; Organization; Qualification; Binding Agreement. The Seller is the legal
   and beneficial owner of, and has good and marketable title to, the Purchased Assets. All
   necessary limited liability company action with respect to the Seller has been taken to duly
   authorize the transactions contemplated by, and to execute and deliver the documents provided
   under, this Agreement. The Seller is duly formed and validly existing under the laws of the State
   of Texas, and has full legal right, power, and authority to enter into this Agreement and to
   perform its obligations hereunder, subject to entry of the Sale Order by the Bankruptcy Court.
   This Agreement and the documents contemplated hereby have been duly executed and delivered
   by the Seller, and assuming the due authorization, execution and delivery by the Buyer thereto,
   and subject to entry of the Sale Order by the Bankruptcy Court, are valid and binding agreements
   of the Seller, enforceable against the Seller in accordance with their terms.

         4.3    Finder’s Fee. The Seller has no liability or obligation to pay any fees or
   commissions to any broker, finder or agent with respect to the transactions contemplated by this
   Agreement for which the Buyer or the Guarantor could become liable or obligated.

           4.4    Data Tapes. The Data Tapes and other data used to calculate the Client Portfolio
   Amount have been prepared in a manner consistent with the accounting practices and policies of
   the Seller consistently applied and are true and accurate in all material respects.


                               ARTICLE V.
       REPRESENTATIONS AND WARRANTIES OF THE BUYER AND GUARANTOR

        The Buyer hereby represents and warrants to the Seller as follows, which representations
  and warranties are true and correct as of the date hereof:

          5.1 Organization of the Buyer. The Buyer is duly organized, validly existing and in
   good standing under the laws of Florida.

           5.2 Authority of the Buyer. The Buyer has the power and authority to enter into this
   Agreement and each agreement, document and instrument to be executed and delivered by the
   Buyer pursuant to this Agreement and to carry out the transactions contemplated hereby or
   thereby. The execution, delivery and performance by the Buyer of this Agreement and each such
   other agreement, document and instrument executed and delivered by the Buyer pursuant to this
   Agreement to which the Buyer is a party have been duly authorized by all necessary action of
   the Buyer, and no other action on the part of the Buyer is required in connection therewith. This
   Agreement and each agreement, document and instrument executed and delivered by the Buyer
   pursuant to this Agreement constitute, or when executed and delivered will constitute, valid and
   binding obligations of the Buyer enforceable against the Buyer in accordance with their terms,
   subject to the effect of any applicable bankruptcy, reorganization, insolvency, moratorium or
   similar laws affecting creditors’ rights generally and subject to the effect of general principles of



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   equity, including, without limitation, the possible unavailability of specific performance or
   injunctive relief, regardless of whether considered in a proceeding in equity or at law.

           5.3 Sufficiency of Funds. As of the Closing Date, the Buyer currently holds funds in
   available, unencumbered cash in an amount sufficient to pay the Closing Price upon the Closing.

          5.4 Finder’s Fee. The Buyer has no liability or obligation to pay any fees or
   commissions to any broker, finder or agent with respect to the transactions contemplated by this
   Agreement for which the Seller could become liable or obligated.

           5.5 Investigations. Without in any way limiting or qualifying the provisions of Article
   IV, the Buyer (a) has made such investigations of the Seller and the Business as the Buyer
   deemed appropriate for determining whether to enter into this Agreement, (b) has had access to
   such financial and other information about the Seller and the Business as the Buyer has
   requested, and (c) has had a reasonable opportunity to ask questions of and receive answers from
   executives of the Seller concerning the assets, liabilities, and business and financial condition
   and operations of the Business.

                                             ARTICLE VI.
                                             COVENANTS

            6.1 Further Assurances. Upon the terms and subject to the conditions contained herein,
   the parties hereto shall, both before and after the Closing, (a) use all commercially reasonable
   efforts to take, or cause to be taken, all actions and to do, or cause to be done, all things necessary,
   proper or advisable to consummate and make effective the transactions contemplated by this
   Agreement, (b) execute any documents, instruments or conveyances of any kind that may be
   reasonably necessary or advisable to carry out any of the transactions contemplated hereunder,
   and (c) cooperate with each other in connection with the foregoing.

           6.2 Conduct of Business. Except as otherwise contemplated by the terms of this
   Agreement, as consented to by the Buyer in writing, or to the extent permitted or required by an
   order of the Bankruptcy Court, the Seller shall continue to operate the Business between the date
   of this Agreement and the Closing Date only in the Ordinary Course of Business, and, without
   limiting the generality of the foregoing obligation, the Seller shall:

                (a)    Use all reasonable efforts to protect, maintain in good operating condition
   and repair (normal wear and tear excepted) and preserve its ownership of the Purchased Assets;

                (b)    Not enter into, materially modify, or terminate any Customer Contract
   included in the Purchased Assets, except in the Ordinary Course of Business;

                 (c)   Not sell, assign, transfer, convey, lease, mortgage, pledge or otherwise
  dispose of or encumber any of the Purchased Assets, except in the Ordinary Course of Business;

               (d)     Not incur any Liability relating to the Business that will constitute an
  Assumed Liability, except in the Ordinary Course of Business;



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                  (e)     Use all reasonable efforts to preserve the goodwill of all suppliers,
  customers, account debtors and others having business relations with the Business, and use
  commercially reasonable efforts to keep existing insurance policies covering the Purchased Assets
  in place until the Closing;

                (f)    Upon reasonable advance notice, permit the Buyer and its authorized
  Representatives during normal business hours to have access to all of the Books and Records,
  contracts and documents relating to the Business and furnish to the Buyer or its authorized
  Representatives such financial and other information with respect to the Business as the Buyer
  may from time to time reasonably request;

                  (g)    Refrain from making or changing any Tax election, changing any annual
  accounting period, changing or adopting any method of accounting, filing any amended Tax
  Return, entering into any Tax closing agreement, settling any Tax claim or assessment relating to
  the Business, surrendering any right to claim a refund of Taxes, consenting to any extension or
  waiver of the limitations period applicable to any Tax claim or assessment relating to the Business
  or takin any other similar action, or omitting to take any action relating to the filing of any Tax
  Return or the payment of any Tax; and

                 (h)     Give the Buyer prompt written notice of any Material Adverse Effect on the
  Seller.


          6.3 Sale Order. The Seller shall file a motion with the Bankruptcy Court seeking a Sale
  Hearing to approve entry of the Sale Order and thereafter will use good faith and commercially
  reasonable efforts to obtain the Bankruptcy Court’s entry of the Sale Order approving the
  consummation of the transactions contemplated by this Agreement. The Seller and the Buyer
  acknowledge that (i) this Agreement and the sale of the Purchased Assets are subject to Bankruptcy
  Court approval; (ii) in order to obtain such approval, the Seller has filed a Bidding Procedures
  Motion detailing Bidding Procedures whereby the Seller seeks a Bidding Procedures Order; (iii)
  the Seller must demonstrate that it has taken reasonable steps to obtain the highest and otherwise
  best offer possible for the Purchased Assets; and (iv) such demonstration must include giving
  notice of the transactions contemplated by this Agreement to creditors and other interested parties.

                                     ARTICLE VII.
                       CONDITIONS TO OBLIGATIONS OF THE SELLER

          The obligations of the Seller to consummate the transactions contemplated hereby are
  subject, in the reasonable discretion of the Seller, to the satisfaction, on or prior to the Closing
  Date, of each of the following conditions, any of which may be waived in writing by the Seller:

            7.1 Representations, Warranties and Covenants. All representations and warranties of
  the Buyer contained in this Agreement shall be true and correct in all material respects at and as
  of the date of this Agreement and at and as of the Closing Date, or in the case of representations
  and warranties that address matters as of a particular date, as of such date, and the Buyer shall have
  performed and satisfied in all material respects all agreements and covenants required hereby to
  be performed by it prior to or on the Closing Date. An authorized officer or manager (as the case

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  may be) of the Buyer shall have delivered a certificate to the Seller to the effect that each of the
  conditions set forth in this Section 7.1 and Section 7.4 is satisfied in all respects.

            7.2 No Actions or Court Orders. No action by any governmental authority or other
  Person shall have been instituted or, to the Seller’s Knowledge, threatened that questions the
  validity or legality of the transactions contemplated hereby and that could reasonably be expected
  to materially damage the Seller if the transactions contemplated hereunder are consummated.
  There shall not be any Laws or Court Order that makes the purchase and sale of the Purchased
  Assets contemplated hereby illegal or otherwise prohibited.

           7.3     Sale Order; Authorizations. The Sale Order Effective Date shall have occurred,
  and the Buyer shall have obtained any other authorization, license or approval required under
  applicable law for the Buyer to consummate the transactions contemplated by this Agreement.

           7.4    Material Adverse Effect. Since the date of this Agreement, there shall not have
  occurred a Material Adverse Effect on the Buyer.

                                     ARTICLE VIII.
                        CONDITIONS TO OBLIGATIONS OF THE BUYER

          The obligations of the Buyer to consummate the transactions contemplated hereby are
  subject, in the reasonable discretion of the Buyer, to the satisfaction, on or prior to the Closing
  Date, of each of the following conditions, any of which may be waived in writing by the Buyer:

            8.1 Representations, Warranties and Covenants. All representations and warranties of
  the Seller contained in this Agreement shall be true and correct in all material respects at and as of
  the date of this Agreement and at and as of the Closing Date, or in the case of representations and
  warranties that address matters as of a particular date, as of such date, and the Seller shall have
  performed and satisfied in all material respects all agreements and covenants required hereby to
  be performed by it prior to or on the Closing Date. An authorized officer of the Seller shall have
  delivered a certificate to the Buyer to the effect that each of the conditions set forth in this
  Section 8.1 and Section 8.4 is satisfied in all respects.

            8.2 No Actions or Court Orders. No action by any governmental authority or other
  Person shall have been instituted or, to the Buyer’s Knowledge, threatened that questions the
  validity or legality of the transactions contemplated hereby and that could reasonably be expected
  to materially damage the Buyer, the Purchased Assets or the Business if the transactions
  contemplated hereunder are consummated. There shall not be any Laws or Court Order that makes
  the purchase and sale of the Purchased Assets contemplated hereby illegal or otherwise prohibited.

           8.3    Sale Order; Authorizations. The Sale Order shall have been entered by the
  Bankruptcy Court and shall not be subject to a stay pending appeal, and the Seller shall have
  obtained any other authorization, license or approval required under applicable law for the Seller
  to consummate the transactions contemplated by this Agreement.

           8.4 . Material Adverse Effect. Since the date of this Agreement, there shall not have
  occurred a Material Adverse Effect on the Seller.


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                                    ARTICLE IX.
                   RIGHTS AND OBLIGATIONS SUBSEQUENT TO CLOSING

           9.1 Survival of Representations and Warranties. Except with regard to any fraud of the
   Buyer in connection with this Agreement, the representations and warranties made by the Buyer
   in Article V of this Agreement shall survive the Closing Date for a period of, and claims based
   upon or arising out of such representations and warranties may only be asserted before the date
   which is, twenty-four (24) months after the Closing Date.

           9.2   Indemnification.

                  (a)   By the Buyer. The Buyer shall indemnify, defend, and hold harmless the
  Seller and its members, managers, officers and employees (the “Seller Indemnified Parties”) from
  and against any and all loss, claim, damage, expense (including reasonable attorneys’ fees and
  expenses and the fees and expenses of expert witnesses), whether or not involving a third-party
  claim (collectively, “Damages”), arising from or in connection with (i) any breach of any
  representation or warranty made by the Buyer; (ii) any breach of any other covenant or agreement
  made by the Buyer; and (iii) the operation and ownership of the Purchased Assets from and after
  the Closing.

                 (b)     Defense of Claims.

                          (i)     Subject to the limitations set forth in this Article IX, if any of the
  Seller Indemnified Parties seeks indemnification pursuant to this Section 9.2, such Seller
  Indemnified Parties shall give written notice to the Buyer promptly (and in any event within twenty
  (20) days) after the Seller Indemnified Parties become aware of the facts giving rise to such claim
  for indemnification (an “Indemnified Claim”) specifying in reasonable detail the factual basis of
  the Indemnified Claim, including, to the extent available, the date that such Damages were paid,
  incurred, suffered, or sustained and, if applicable, the nature of the misrepresentation, breach of
  warranty or covenant to which such item is related (such notice an “Indemnification Claim
  Notice”). If the Indemnified Claim arises from the assertion of any claim, or the commencement
  of any suit, action, proceeding or remedial action brought by a Person that is not a party hereto (a
  “Third Party Claim”), any such notice to the Buyer shall be accompanied by a copy of any papers
  theretofore served on or delivered to the Seller Indemnified Parties in connection with such Third
  Party Claim.

                          (ii)   If the Buyer does not object in writing within the thirty (30) day
  period after receipt of an Indemnification Claim Notice by delivery of a written notice of objection
  containing a reasonably detailed description of the facts and circumstances supporting an objection
  to the applicable indemnification claim (an “Indemnification Claim Objection Notice”), such
  failure to so object shall be an irrevocable acknowledgment by the Buyer that the Seller
  Indemnified Parties are entitled to the full amount of the Indemnified Claim set forth in such
  Indemnification Claim Notice and such amount shall become due and payable to the Seller
  Indemnified Parties no later than ten (10) business days following the end of the previous thirty
  (30) day period since the delivery of the Indemnification Claim Notice.



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                        (iii) In the event that the Buyer delivers an Indemnification Claim
  Objection Notice in accordance with Section 9.2(b)(ii), the Buyer and the Seller shall attempt in
  good faith to agree upon the rights of the respective parties with respect to each of such Claims.
  If the Buyer and the Seller should so agree, a memorandum setting forth such agreement shall be
  prepared and signed by the relevant parties and whatever amount of Damages is so agreed shall
  become due and payable by the Buyer to the Seller Indemnified Parties no later than ten (10)
  business days following the date of such memorandum.

                         (iv)     If no such agreement can be reached after good faith negotiation and
  prior to thirty (30) days after delivery of an Indemnification Claim Objection Notice, the Seller
  Indemnified Parties may petition a court of competent jurisdiction for relief, in accordance with
  Section 10.2 hereof.

                         (v)     In connection with any Third Party Claim giving rise to
  indemnification hereunder, upon receipt of notice of a Third Party Claim from the Seller
  Indemnified Parties pursuant to this Section 9.2(b), and, to the extent the Seller Indemnified Parties
  so desire, the Buyer shall assume the defense and control of such Third Party Claim using counsel
  of its own choice, subject to the provisions of this Section 9.2. If the Buyer assumes the defense
  and control of a Third Party Claim as provided in this Section 9.2(b)(v), such Claim shall not be
  compromised or settled without the written consent of the Seller, which consent shall not be
  unreasonably withheld, conditioned or delayed. The Seller shall, and shall cause each of its
  Affiliates and Representatives to, cooperate fully with the Buyer in connection with any Third
  Party Claim.

                (d)     The Seller shall, and shall cause each of its Affiliates and Representatives
  to take all commercially reasonable actions to mitigate all Indemnified Claims incurred or
  reasonably expected to be incurred by them upon becoming aware of any fact, event or
  circumstance that has resulted in, or would be reasonably be expected to give rise to, any such
  Indemnified Claim.

          9.3     Consents to Assignment.        Anything in this Agreement to the contrary
  notwithstanding, this Agreement shall not constitute an agreement to assign any Assumed
  Contracts or any benefit arising thereunder or resulting therefrom if an attempted assignment
  thereof without the consent of any third party (whether or not such third party is a party to the
  Assumed Contract in question), would constitute a default thereof or in any way materially
  adversely affect the rights or obligations of the Buyer thereunder. With respect to any such
  Assumed Contracts, the Seller shall use all commercially reasonable efforts to obtain the consent
  of the other parties to such Assumed Contracts for the assignment thereof to the Buyer (it being
  understood, however, that the Seller shall not be required to make any payments or agree to any
  material undertakings in connection therewith), or confirmation from such parties that such
  consent is not required.

           9.4   Books and Records; Tax Matters; Liabilities.

                 (a)     Books and Records.
                        (i)   Each party shall cooperate with and make available to the other
  party, upon reasonable advance written notice and during normal business hours, all Books and

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  Records, information and employees (without substantial disruption of employment) that are
  necessary or useful in connection with any tax inquiry, audit, investigation, dispute, or any other
  matter requiring any such Books and Records, information or employees for any reasonable
  business purpose.

                        (ii)    Notwithstanding paragraph (i), neither party shall be obligated to
  take any action pursuant to such paragraph against the advice of its own counsel.

                         (iii) The Seller shall be entitled to retain a copy of the Books and Records
  as they stand on the Closing Date for the purposes of the Bankruptcy Case, including a copy of its
  database stored on Microsoft servers as of the Closing Date.

                  (b)      Tax Matters. Each party shall (i) provide the other with such assistance as
  may reasonably be requested by either of them in connection with the preparation of any Return,
  audit or other examination by any taxing authority or judicial or administrative proceedings
  relating to Liability for taxes, (ii) retain and provide the other with any records or other information
  that may be relevant to such Return, audit or examination, proceeding or determination, and
  (iii) provide the other with any final determination of any such audit or examination, proceeding
  or determination that affects any amount required to be shown on any Return of the other for any
  taxable period. Without limiting the generality of the foregoing, the parties shall each retain, until
  the applicable statutes of limitation (without regard to extensions except to the extent notified by
  the other party in writing of such extensions for the respective Tax periods) have expired, copies
  of all Returns, supporting work schedules and other records or information that may be relevant to
  such Returns for all tax periods or portions thereof ending on or before the Closing Date and shall
  not destroy or otherwise dispose of any such records without first providing the other party with a
  reasonable opportunity to review and copy the same. The Buyer and the Seller shall each be liable
  for fifty percent (50%) of any and all transfer, documentary, stamp, sales, use, and other such
  Taxes and fees (including any penalties and interest) (“Transfer Taxes”) incurred in connection
  with the transactions contemplated by this Agreement. Subject to receipt of the Buyer’s
  contribution to any Transfer Taxes payable, the Seller will, at its own expense, file all necessary
  Tax Returns and other documentation with respect to all such Transfer Taxes, and, if required by
  applicable law, the Buyer will, and will cause its Affiliates to, join in the execution of any such
  Tax Returns and other documentation. Seller shall promptly provide to the Buyer copies of all
  filed Tax Returns relating to Transfer Taxes and reasonable written evidence that all Transfer
  Taxes have been timely paid to the appropriate Taxing Authority. For purposes of determining the
  amount of Taxes that are Excluded Liabilities, to the extent personal property or other periodic
  Taxes not based on income or receipts relate to any Purchased Assets or the Business in respect of
  a taxable period that begins on or prior to the Closing Date and ends after the Closing Date, the
  amount attributable to the portion of the taxable period up to and including the Closing Date shall
  be calculated as follows: the Taxes for the entire taxable period will be multiplied by a fraction,
  the numerator of which is the number of calendar days in the taxable period prior to and including
  the Closing Date, and the denominator of which is the number of calendar days in the entire taxable
  period. In the case of all other Taxes not described in the preceding sentence related to the
  Purchased Assets or the Business in respect of a taxable period that begins on or prior to the
  Closing Date and ends after the Closing Date, the amount attributable to the portion of the taxable
  period up to and including the Closing Date shall be determined on an interim closing of the books
  basis as if such taxable period ended as of the close of business on the Closing Date.

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                  (c)   Liabilities. Following the Closing, the Buyer shall pay or perform, or cause
  to be paid or performed, when due all of the Assumed Liabilities and shall hold the Seller harmless
  from and against the same. The Seller shall pay or perform, or cause to be paid or performed,
  when due all of the Excluded Liabilities, and shall hold the Buyer harmless from and against the
  same.

         9.5      Preservation of Confidentiality. The Buyer and the Seller acknowledge that they
  and InstaPay Flexible LLC are parties to a letter agreement concerning confidentiality dated
  September 27, 2021 (the “Confidentiality Agreement”) and that the Confidentiality Agreement
  remains in full force and effect according to its terms.

          9.6 Use of Name. Notwithstanding any other provision of this Agreement, the Seller shall
  be entitled to retain and use its corporate name for the purposes of the Bankruptcy Case, including
  and litigation necessary to preserve or collect any of the Excluded Assets.

          9.7 Email Communications. Notwithstanding the transfer to the Buyer of the URLs
  referred to in Schedule 3 of this Agreement, the Buyer will ensure that for the period of two (2)
  years following Closing, emails addressed to the following will be automatically forwarded to such
  persons as directed and not saved on the Buyer’s servers. The Buyer will respect and maintain the
  confidentiality of all such communications, acknowledging that many be privileged.

         paul@flexiblefunding.com

         steve@flexiblefunding.com

         ssala@flexiblefunding.com

         nash@flexiblefunding.com

         steve@flexiblefund.com



                                           ARTICLE X.
                                         MISCELLANEOUS

            10.1 Fees and Expenses. Except as otherwise specified in this Agreement and whether
  or not the Closing takes place, each party hereto shall pay its own legal, accounting, out-of-pocket
  and other expenses incident to this Agreement and to any action taken by such party in preparation
  for carrying this Agreement into effect.

           10.2 Governing Law; Attorneys’ Fees. This Agreement (including any claim or
  controversy arising out of or relating to this Agreement) shall be construed, performed and
  enforced in accordance with the laws of the State of Texas without regard to conflict of law
  principles that would result in the application of any law other than the law of the State of Texas.
  The prevailing party in any litigation to enforce the rights under this Agreement shall be entitled
  to an award of its costs and expenses, including reasonable attorneys’ fees and expenses and the
  reasonable fees and expenses of expert witnesses.

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            10.3 Exclusive Jurisdiction. The Bankruptcy Court shall have sole and exclusive
  jurisdiction of all matters arising out of, and related to, this Agreement and the transactions
  contemplated hereby.

            10.4 Notices. Any notice, request, demand or other communication required or
  permitted hereunder shall be in writing and shall be deemed to have been given (a) on the date
  received if sent by e-mail prior to 5:00pm Central Standard Time on a business day, and on the
  next business day if by e-mail if sent after such time, or (b) if sent by reputable courier service
  guaranteeing overnight delivery, on the next business day. All notices to a party will be sent to
  the addresses set forth below or to such other address or Person as such party may designate by
  notice to each other party hereunder:

  To the Seller:
                                           Flexible Funding Ltd. Liability Co.
                                           c/o Carle, Mackie, Power & Ross LLP
                                           100 B Street, Suite 400
                                           Santa Rosa, CA 95401
                                           Attention: Paul DeLuca
                                           Email: paul@flexiblefunding.com

  With copies (which shall
  not constitute notice) to:
                                           Carle, Mackie, Power & Ross LLP
                                           100 B Street, Suite 400
                                           Santa Rosa, CA 95401
                                           Attention: Simon R. Inman
                                           Email: srinman@cmprlaw.com
  and:
                                           Forshey Prostok LLP
                                           777 Main Street, Suite 1550
                                           Fort Worth, TX 76102
                                           Attention: Jeff Prostok
                                           Email: jprostok@forsheyprostok.com

  To the Buyer:                            Steve McDonald, President
                                           eCapital Factoring (Holding) Corp.
                                           360 Interstate North Parkway SE
                                           Suite 630
                                           Email: david.ciccolo@ecapital.com

  With a copy (which shall
  not constitute notice) to:               Jonathan Staebler, General Counsel
                                           eCapital Group
                                           20807 Biscayne Blvd, Suite 203
                                           Aventura FL 33180
                                           Email: jonathan.staebler@ecapital.com


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  Any notice given hereunder may be given on behalf of any party by its counsel or other authorized
  Representatives. Any reference to “business day” in this Agreement means any day that is not a
  Saturday, a Sunday or other day on which banks are required or authorized by Law to be closed in
  Dallas, Texas.

           10.5 No Third-Party Beneficiaries. This Agreement shall not confer any rights or
  remedies upon any Person other than the parties and their respective successors and permitted
  assigns.

           10.6 Construction. The parties have participated jointly in the negotiation and drafting
  of this Agreement. In the event an ambiguity or question of intent or interpretation arises, this
  Agreement shall be construed as if drafted jointly by the parties and no presumption or burden of
  proof shall arise favoring or disfavoring any party by virtue of the authorship of any of the
  provisions of this Agreement. The words “including” and “include” and other words of similar
  import will be deemed to be followed by the phrase “without limitation” where such phrase does
  not appear.

           10.7 Assignment. Neither this Agreement nor any of the rights or obligations hereunder
  may be assigned by any party without the prior written consent of the other party and of the
  Bankruptcy Court. Subject to the foregoing, this Agreement shall be binding upon and inure to
  the benefit of the parties hereto and their respective successors and permitted assigns.
  Notwithstanding the foregoing, the Buyer may, with prior written notice to the Seller, assign this
  Agreement and any or all rights, interests or obligations hereunder to an Affiliate of the Buyer.
  Upon any such permitted assignment, the references in this Agreement to the Buyer shall refer to
  such assignee unless the context otherwise requires.

            10.8 Captions and Plural. The captions in this Agreement are for convenience only and
  shall not affect the construction or interpretation of any term or provision hereof. The use in this
  Agreement of the singular in reference to a party hereto shall be deemed to include the plural, as
  the context may require.

           10.9 Execution in Counterparts. For the convenience of the parties and to facilitate
  execution, this Agreement may be executed in two (2) or more counterparts, each of which shall
  be deemed an original, but all of which shall constitute one and the same document.

           10.10        Amendments. This Agreement may not be amended or modified, nor may
  compliance with any condition or covenant set forth herein be waived, except by a writing duly
  and validly executed by each party hereto, or in the case of a waiver, the party waiving compliance.

           10.11        Public Disclosure. No party shall issue any press release or make any other
  public announcement relating to the subject matter of this Agreement without the prior written
  consent of the other party.

           10.12       Force Majeure. No liability shall result to either party from any delay in
  performance or from non-performance (other than non-payment) caused by circumstances beyond
  the reasonable control of such party, including, without limitation, acts of God, acts of terrorism
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  or violence, fire, flood, explosion, war, action or request of governmental authority, accident, labor
  trouble or shortage, inability to obtain material, power, equipment or transportation, or any other
  circumstances of a similar or different nature beyond such party’s reasonable control.

           10.13        Entire Agreement. This Agreement, together with the Confidentiality
  Agreement and including the exhibits and schedules hereto, reflects the entire agreement of the
  parties with respect to the subject matter hereof and supersedes all previous written or oral
  negotiations, commitments and writings to the extent they relate to the subject matter hereof.




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         IN WITNESS WHEREOF, the parties hereto have caused this Asset Purchase Agreement
  to be duly executed on their respective behalf, by their respective officers thereunto duly
  authorized, all as of the day and year first above written.


   SELLER:

   Flexible Funding Ltd. Liability Co.
   a California limited liability company

   By:
          Paul DeLuca, Manager

   By:   ________________________
         Steven Capper, Manager


   BUYER:

   eCapital Factoring (Holding) Corp.

   By:




   _____________________
      Steve McDonald, President




                  [SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT]
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                                  SCHEDULE 1

                             Purchased Assets Schedule



  Purchased Assets

  Customer Contracts

         Client Codes
       2092    2064     2080 MP         1745 ZN
       2113    2090     1576    1895    2082
       1079    1666     2076    1033    2060
       2089    1066     1373 RC         2083
       2102    2059     1529    1757    2056
       2095    2105     1928    1911    1587
       1460    2073     1007    2078    2085
       2045    1823     1779    1984    1293
       1526    1513     2068    1163    2096
       1961 DA          2109    1163    2112
       2103    2099     1017 PA         2047
       2091    2097     1988    2111    2101
       1741    1246     1018    1511    2107
       2100    1508     1948    1313    1481
       2067    1120     2086    2071 UT
       1816 EA          1110    1612    1683
       1316 ER          1110    1712    2104
       1543    2110     1605    1712    2084
       1487    1613     2053    2106 WC
       1667    1606     2077    1663       3




  IP Contracts

  None
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  Other Contracts


  Name                                       Debtor              Type
  Wells Fargo Bank N.A. Lockbox Services     Flexible Funding    Lockbox
  Danilo Tenorio Raisi                       Flexible Funding    Contract Employee
  Marcos Hass Wakamatsu                      Flexible Funding    Contract Employee
  DFW Office Systems                         Flexible Funding    Copier Lease
  DFW Office Systems                         Flexible Funding    Copier Service Agreement
  FW Office Lease (AP Shale Logistics)       Flexible Funding    Office Lease
  Management Co, LLC
  Advanced Funding Group                     Flexible Funding    Referral Agreement
  Alex Cervantes                             Flexible Funding    Referral Agreement
  Andew Spitz                                Flexible Funding    Referral Agreement
  Capital Equity Partner                     Flexible Funding    Referral Agreement
  Corporate Finance New                      Flexible Funding    Referral Agreement
  Corporate Finance New (Jack Tyger)         Flexible Funding    Referral Agreement
  Dave Kooiman                               Flexible Funding    Referral Agreement
  Demsker Consulting (Rob Demsker)           Flexible Funding    Referral Agreement
  Factor Finders, LLC                        Flexible Funding    Referral Agreement
  GRB Associates (Gary Baker)                Flexible Funding    Referral Agreement
  Hunter Reid (PFC)                          Flexible Funding    Referral Agreement
  James Shalinsky (Advanced Funding Group)   Flexible Funding    Referral Agreement
  Jeff Stone (T. Jeff Stone & Associates)    Flexible Funding    Referral Agreement
  John Harraghy (Trust Funding Solutions)    Flexible Funding    Referral Agreement
  JS Platinum Insurance                      Flexible Funding    Referral Agreement
  JVRC (Jesse Gutierrez)                     Flexible Funding    Referral Agreement
  Keystone Marketing (Bill Hansen)           Flexible Funding    Referral Agreement
  Keystone Marketing LLC                     Flexible Funding    Referral Agreement
  Larry Holstein                             Flexible Funding    Referral Agreement
  Lilogy (Andrew James)                      Flexible Funding    Referral Agreement
  Meritus Capital                            Flexible Funding    Referral Agreement
  Michael DiManno (EmployInsure)             Flexible Funding    Referral Agreement
  Michael Santos                             Flexible Funding    Referral Agreement
  Mike Santos (Workers Comp Access)          Flexible Funding    Referral Agreement
  Paul McClintock                            Flexible Funding    Referral Agreement
  PEO Analysis (Chris Fitzjarrald)           Flexible Funding    Referral Agreement
  Phil Cohen (Factor Finders)                Flexible Funding    Referral Agreement
  Prestige Capital                           Flexible Funding    Referral Agreement
  Rupen Shah                                 Flexible Funding    Referral Agreement
  Ryan Scott (Perk Benefits)                 Flexible Funding    Referral Agreement
  Sunny Arora (Metro Business Solutions)     Flexible Funding    Referral Agreement
  The Corporate Advocate (Ray Blom)          Flexible Funding    Referral Agreement
  Trey Pearce (T, L, & S LLC)                Flexible Funding    Referral Agreement
  William Blenderman                         Flexible Funding    Referral Agreement
  WorkComp Solutions LLC                     Flexible Funding    Referral Agreement
  Ring Central                               Flexible Funding    Software Provider
  Flexible Website                           Flexible Funding    Domains
  Flexible M3 and M4 tech                    Flexible Funding    Tech
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  NDAs

  NDA Counterparty:
  Aedifex Ventures PR, LLC
  AmeriFactors Financial Group LLC
  Apex Capital Corp
  Argo Partners
  Bay View Funding
  CoreFund Capital
  Crestmark, A Division of Metabank, National Association
  eCapital Corp
  Encore Funding, Inc.
  Equify Financial, LLC
  Flat Rate Funding Group
  Fourshore Partners
  Freight Factoring Specialists, LLC
  Goodman Capital Finance, a division of Independent Bank
  LINE Financial Corp
  Marblegate Asset Management, LLC
  McArron Investments, LP
  nFusion Capital Finance, LLC
  Noor Associates
  Petra Group Holdings LTD.
  Porter Capital Corporation
  Raistone Capital LLC
  Revolution Capital (USA) Inc.
  Sallyport Commercial Finance, LLC
  White Oak Commercial Finance, LLC
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                                    SCHEDULE 2

                              Excluded Accounts Schedule


  Client Code    Client Name                               Client Type
          2072   AMERICAN QUARTER CONSTRUCTION, LLC        ABL
          1975   CONSTRUCTURE, INC                         ABL
  ECAP           ECAPITAL                                  TL
  ENGS           ENGSTROM PARTICIPATION                    Factoring
          1752   ESSENTIAL STAFFING COMPANY                ABL
          2048   GRAHAM COUNTY LAND COMPANY                ABL
          2048   GRAHAM COUNTY LAND COMPANY                TL
          2048   GRAHAM COUNTY LAND COMPANY                TL
          1538   HORIZON HEALTH CONSULTANTS                ABL
          2038   MHC LLC                                   ABL
          2065   R&R OUTDOOR SERVICES                      ABL
           899   SJT PRECISION METAL, INC.                 ABL
           899   SJT PRECISION METAL, INC.                 TL
          2057   SUNCAP TECHNOLOGY INC                     ABL
          2057   SUNCAP TECHNOLOGY INC                     TL
          1331   TEMPS PLUS                                ABL
          1331   TEMPS PLUS                                TL
          1484   THE ODYSSEY GROUP                         TL
  GS             GRANITE SOLUTIONS GROUPE                  ABL
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  Retained Litigation Claims

  Name                                                                Type          Description
  Aesctic-New Vision                                                  Litigation    Litigation-Pahl
                                                                                    McCay
  Apollo Search Partners                                              Litigation    Litigation-Pahl
                                                                                    McCay
  Country Fresh-Changing Lives                                        Litigation    Litigation-Pahl
                                                                                    McCay
  El Gallo Bakery                                                     Litigation    Litigation-Pahl
                                                                                    McCay
  El Gallo Grill                                                      Litigation    Litigation-Pahl
                                                                                    McCay
  Engstrom Participation with Millennium Funding and associated claim Litigation    Collection
                                                                                    account
  Fresh Packing                                                       Litigation    Litigation-Pahl
                                                                                    McCay
  Galca Judgement and Payment over Notice claims associated with AccLitigation      Litigation-Pahl
                                                                                    McCay
  Graham County Land Company                                          Litigation    Litigation-Ward
                                                                                    &Smith
  MB Enterprises                                                      Litigation    Litigation-Pahl
                                                                                    McCay
  MB Voods/So.Cal                                                     Litigation    Litigation-Pahl
                                                                                    McCay
  Que Moles                                                           Litigation    Litigation-Pahl
                                                                                    McCay
  TPI                                                                 Litigation    Litigation-Pahl
                                                                                    McCay
  Constructure                                                        Collect out   Collection
                                                                      account       account
  R&R                                                                 Collect out   Collection
                                                                      account       account
  Technical Works contract and cross corp guarantee of Constructure

  Mowbray's Tree Service - All litigation and counterclaims           Litigation    Litigation
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                                    SCHEDULE 3

                                      IP Schedule


  Schedule #                  Flexible IP Assignment
  1. Marks                    N/A
  2. Copyright                All html, css, and text files, and all configuration settings and
                              layout schemes, each of which is stored in webflow which are
                              used to generate www.flexiblefunding.com
  3. Domains                  www.flexiblefund.com & www.flexiblefunding.com

  IP Description              The website hosted at www.flexiblefund.com and the
                              proprietary software and codebase at
                              www.flexiblefunding.com known internally as M3 and M4
                              software packages hosted on the Microsoft Azure platform.
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                                        EXHIBIT A-1

                                  Auction Date Certificate



  Loan amount of each Customer Contract that is an Assumed Contract:                 $46,586,333.52

  Less Bad Debts:                                                                                None

  Less Term Loans*:                                                                    ($396,823.80)

  Less Special Reserves:
   Palo Alto Staffing                                                                   ($15,000.00)
   Kidsembrace                                                                          ($90,000.00)
   Education Works**                                                                 ($1,286,838.73)
   Total Special Reserves:                                                           ($1,391,838.73)

  Client Portfolio Amount:                                                           $44,797,670.99

  Premium:
    Gross Premium Amount:                                                              $6,719,650.65
    Less: Palo Alto NFE Remaining Premium                                                ($7,492.77)
    Less: Unapplied Cash Impact on Premium                                             ($157,882.84)
     Net Premium Amount                                                                $6,554,275.04

  Purchase Price:                                                                    $51,351,946.03

  *Term loans to be collected by Buyer with collections remitted to the Seller’s estate.

  **Education Works: Buyer will purchase this account at Closing but with no change in the Client
  Portfolio Amount. After Closing, Seller will work with the Purchaser to put a DACA agreement
  into place with the client's bank. If the DACA is effected within 60 days, the Purchaser will pay
  for the account’s net funds employed as of the Closing Date, plus a 15% Premium. If the DACA
  is not put in place within 60 days, the account will be returned to the Debtors' estate and a cash
  payment will be made by the Buyer to the Seller in the amount of the difference of the net funds
  employed as of the Closing Date and the net funds employed on the date the account is returned
  to the Debtor’s estate to the extent that difference is a positive number. If the account terminates
  or defaults on its financing agreement, then Buyer has no liability to Seller in respect of the
  account. If the account refinances, then the Buyer shall pay over to the Seller the entire amount of
  principal that it receives in such refinancing, up to the amount of the net funds employed on the
  Closing Date, but shall have no duty to assign the account to the Seller.
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  Executed as of the Closing Date



   Flexible Funding Ltd. Liability Co.

   a California limited liability company

   By:

                 Name: Paul DeLuca

                 Title: Manager




   By:

                 Name: Steven Capper

                 Title: Manager
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                                          EXHIBIT A-2

                             Form of Purchase Price Certificate



  Purchase Price:                                                         $____________

  Adjustments, if any, to:                                                $____________

  Approved A/R Assets                                                     $____________

  Approved ABL Assets                                                     $____________

  Bad Debts:                                                              $____________

  Term Loans:                                                             $____________

  Special Reserves:                                                       $ ___________

  Closing Payment:                                                    $____________



  Executed as of the Closing Date                (Executed as of the reconciliation date)


   Flexible Funding Ltd. Liability Co.            eCapital Factoring (Holding) Corp.
   a Texas limited liability company              a Florida corporation


   By:                                            By:
                    Name: Paul DeLuca                     Steve McDonald, President
                    Title: Manager


   By:
                    Name: Steven Capper
                    Title: Manager
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                                          EXHIBIT B

                                      Form of Bill of Sale

                                        BILL OF SALE


          For good and valuable consideration, the receipt and adequacy of which are hereby
  acknowledged, Flexible Funding Ltd. Liability Co., a California limited liability company (the
  “Seller”), does hereby transfer, sell, assign, convey, and deliver to eCapital Factoring (Holding)
  Corp., a Florida corporation (the “Buyer”), all right, title, and interest of the Seller in and to the
  Purchased Assets (as such term is defined in that certain Asset Purchase Agreement, dated as of
  _______________, 2021, by and between the Buyer and the Seller).

          The Seller hereby covenants and agrees that, at any time and from time to time forthwith
  upon the written request of the Buyer, the Seller will do, execute, acknowledge, and deliver, or
  cause to be done, executed, acknowledged, and delivered, each and all of such further acts, deeds,
  assignments, transfers, conveyances, and assurances as may reasonably be required by the Buyer
  in order to transfer, assign, convey, and deliver unto and vest in the Buyer all rights, title, and
  interest of the Seller in and to the Purchased Assets.

         The Seller has caused this Bill of Sale to be duly executed on its behalf, by its officers
  thereunto duly authorized, as of October [__], 2021.

                                                     Flexible Funding Ltd. Liability Co.
                                                     a California limited liability company


                                                      By:
                                                                     Name: Paul DeLuca
                                                                     Title: Manager


                                                      By:
                                                                     Name: Steven Capper
                                                                     Title: Manager
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                                              EXHIBIT C

                            Form of Assignment of Customer Contracts


                                   ASSIGNMENT OF CONTRACTS

          For good and valuable consideration, the receipt and adequacy of which are hereby
  acknowledged, Flexible Funding Ltd. Liability Co., a California limited liability company (the
  “Seller”), does hereby transfer and assign to eCapital Factoring (Holding) Corp., a Florida
  corporation (the “Buyer”), and the Buyer hereby accepts from the Seller, all right, title and interest
  of the Seller in and to each and every Assumed Contract (as such term is defined in that certain
  Asset Purchase Agreement, dated as of November 1, 2021, by and between the Buyer and the
  Seller), subject to Section 9.3 of the Agreement.

          Each of the parties hereto shall execute and deliver, at the reasonable request of the other
  party hereto, such additional documents, instruments, conveyances and assurances and take such
  further actions as such other party may reasonably request to carry out the provisions hereof and
  give effect to the transactions contemplated by this Assignment of Contracts.

          This Assignment of Contracts shall be governed by the law of the State of Texas without
  regard to conflict of law principles that would result in the application of any law other than the
  law of the State of Texas.


   Flexible Funding Ltd. Liability Co.                eCapital Factoring (Holding) Corp.
   a California limited liability company             a Florida corporation


   By:                                                By:
                  Name: Paul DeLuca                           Steve McDonald, President
                  Title: Manager


   By:
                  Name: Steven Capper
                  Title: Manager
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                                             EXHIBIT D

                      Form of Intellectual Property Assignment Agreement


                 INTELLECTUAL PROPERTY ASSIGNMENT AGREEMENT

         This Intellectual Property Assignment Agreement (“Assignment Agreement”), dated as of
  ___________, 2021 (the “Effective Date”), by and between Flexible Funding Ltd. Liability Co., a
  California limited liability company (the “Assignor”), hereby assigns to eCapital Factoring
  (Holding) Corp., a Florida corporation (the “Assignee”).

         WHEREAS, in connection with the Asset Purchase Agreement dated as of November 1,
  2021 by and among, inter alia, Assignor and Assignee (the “Purchase Agreement”) the Assignors
  wish to assign and transfer to the Assignees the Assigned IP (as defined in the Purchase
  Agreement);

  NOW THEREFORE, for good and valuable consideration, the receipt and sufficiency of which is
  hereby acknowledged, and in further consideration of the mutual covenants and agreements
  contained in the Purchase Agreement, the parties hereto agree as follows:

          1.       Assignment of Intellectual Property. Assignor hereby sells, assigns, transfers, and
  conveys unto Assignee or its designees, all right, title, and interest, whether or not now existing,
  in and to the IP, including, without limitation, the Marks, Copyrights and Domain Names described
  individually and further assigned by the following specific provisions and accompanying
  Schedules 1 through 3 of this Assignment Agreement. Capitalized terms used in this Assignment
  Agreement that are not defined in this Assignment Agreement shall have the meaning assigned in
  the Purchase Agreement.

          2.      Trademarks. Assignor hereby sells, assigns, transfers, and conveys unto Assignees
  or its designees, all right, title, and interest (whether or not now existing) in and to all of the
  following, together with the goodwill of the business and products associated with and symbolized
  by the same (collectively, the “Marks”): all trademarks, service marks, logos, trade names, trade
  dress, logos, packaging design, slogans, registered and unregistered trademarks and service marks,
  and other marks of the Assignor and as set forth in Schedule 1, including all registrations and
  applications for registration thereof, together with the goodwill of the business symbolized by the
  Marks, and all common law rights relating thereto, and any and all claims for past infringement
  thereof, including all rights as opponents in any opposition or cancellation proceeding.

          3.     Copyrights. Assignor hereby sells, assigns, transfers, and conveys unto Assignee
  or its designees, all right, title, and interest (whether or not now existing) in and to all of the
  following (collectively, the “Copyrights”): all registered and unregistered copyrights in both
  published and unpublished works, including, without limitation, all curricula, program materials,
  compilations, software, databases, software (including, without limitation, source codes,
  executable code, data, databases and related documentation), schematics, firmware and
  technology, data and documentation used in connection with the Business, and computer
  programs, manuals and other documentation and all copyright registrations and applications, and
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  all derivatives, translations, adaptations and combinations of the above of Assignor and as set forth
  in Schedule 2, including any and all renewals and extensions of such copyrights that may be
  secured under the laws now or hereafter pertaining thereto in the United States or in any other
  country, and any and all claims for past infringement thereof.

          4.     Domain Names. Assignor hereby sells, assigns, transfers, and conveys unto
  Assignee or its designees, all right, title, and interest (whether or not now existing) in and to all of
  the following (collectively, the “Domain Names”): all domain names of the Assignor and as set
  forth in Schedule 3. Without limiting the foregoing, the Assignor agrees to promptly perform all
  actions required by the applicable domain name registrar to complete the conveyance of the
  Domain Names to the Assignees. The Assignor agrees that it will not register or attempt to register
  any domain names after the Effective Date that include any of the Marks or Copyrights being
  assigned herewith or any variation thereof.

          5.     Cooperation Post-Execution. Following the execution of this Assignment
  Agreement, each party shall deliver to the other such further information and documents and shall
  execute and deliver to the other such further instruments and agreements as the other party shall
  reasonably request to consummate or confirm the transactions provided for in this Assignment
  Agreement, to accomplish the purpose of this Assignment Agreement or to assure to the other
  party the benefits of this Assignment Agreement. Specifically, Assignor hereby authorizes the
  respective patent and trademark office, intellectual property office, or governmental agency in
  each jurisdiction to issue any and all patents, certificates of invention, utility models or other
  governmental grants or issuances that may be granted upon any of the Marks, Copyrights, or
  Domain Names in the name of Assignee, as the assignee to the entire interest therein. The terms
  and conditions of this Assignment Agreement will inure to the benefit of Assignee, its successors,
  assigns, and other legal representatives and will be binding upon Assignor, its successors, assigns,
  and other legal representatives.

                                         (signature page follows)




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        Intending to be bound, the parties have executed this Intellectual Property Assignment
  Agreement as of the Effective Date.

   ASSIGNOR:                                     ASSIGNEE:

   Flexible Funding Ltd. Liability Co.          eCapital Factoring (Holding) Corp.
   a California limited liability company       a Florida corporation

   By:
                   Name: Paul DeLuca            By:
                   Title: Manager                       Steve McDonald, President


   By:
                   Name: Steven Capper
                   Title: Manager




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                                        SCHEDULE 1

                                          MARKS

     Trademark Registration
       or Application No.     Country     Registration Date   Mark and First Named Owner




                                            16
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                                            SCHEDULE 2

                     REGISTERED AND UNREGISTERED COPYRIGHTS


  All html, css, and text files, and all configuration settings and layout schemes, each of which is
  stored in webflow which are used to generate www.flexiblefunding.com




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                                  SCHEDULE 3

                                 DOMAIN NAMES


  www.flexiblefund.com

  www.flexiblefunding.com




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                                 EXHIBIT B

                            CURE AMOUNTS




   ORDER APPROVING SALE - FLEXIBLE                                       Page 23 of 23
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                                               Flexible Funding Ltd. Liability Co., et al

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                                              Schedule of Assigned Contracts
                                        Debtor: Flexible Funding Ltd. Liability Co.
                                                  Revised: October 26, 2021


        Name                      Address                   Contract Type                   Description            Cure Amount

         ADP              2735 N. Stemmons Fwy,            Payroll & Benefits         PEO Payroll Provider with       $0.00
                              Dallas, TX 75027                                         included health benefits
Advanced Funding Group      9 Declaration Drive,          Referral Agreement               Customer referral          $0.00
                            Newtown, PA 18940                                            payment agreement
    Alex Cervantes          9417 Victoria Av #B,          Referral Agreement               Customer referral          $0.00
                           Southgate, CA 90280                                           payment agreement

     Andew Spitz          145 Jackson Dr, Orange,         Referral Agreement             Customer referral            $0.00
                                 OH 44022                                               payment agreement

  AP Shale Logistics        5600 Clearfork Main               Office lease            Fort Worth, Texas Office        $0.00
 Management Co, LLC           Street, Ste 420                                                 Lease
                           Fort Worth, TX 76109
   Boston Properties       Boston Properties, Inc,            Office Lease              San Francisco - One           $0.00
                          800 Boylston Street, Ste.                                     Embarcardero Lease
                          1900, Boston, MA 02199
 Capital Equity Partner      800 N. Haven Ave             Referral Agreement             Customer referral            $0.00
                                 Suite 240,                                             payment agreement
                             Ontario, CA 91764




                                                                   1
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         Name                     Address                  Contract Type               Description           Cure Amount

 Corporate Finance New     14280 S Military Trail #     Referral Agreement          Customer referral           $0.00
                                    7892                                           payment agreement
                               PO Box 7892,
                           Delray Beach, FL 33482
 Corporate Finance New    2905 S. Federal Hwy, Ste      Referral Agreement          Customer referral           $0.00
      (Jack Tyger)          C12, Delray Beach, FL                                  payment agreement
                                   33483

  Danilo Tenorio Raisi      Rua Jua, 65 Apt. 22,         Contract Employee          Contract software           $0.00
                            Sao Paolo, SP Brazil                                        engineer
     Dave Kooiman         2910 Inland Empire Blvd.,     Referral Agreement          Customer referral           $0.00
                            Ste 100, Ontario, CA                                   payment agreement
                                   91761

Demsker Consulting (Rob   3446 Lawton Ln., Pepper       Referral Agreement          Customer referral           $0.00
      Demsker)                Pike, OH 44124                                       payment agreement

  DFW Office Systems          13719 Gamma Rd.,        Copier Service Agreement   Copier Service Agreement       $0.00
                          Farmers Branch, TX 75244
  DFW Office Systems          13720 Gamma Rd.,              Copier Lease            Office Copier Lease         $0.00
                          Farmers Branch, TX 75244
Duesenberg Investment     1800 Avenue of the Stars,         Office Lease              LA Office Lease           $0.00
Company, LLC, c/o Topa      Ste 650, LA, CA 90067
 Property Group, Inc.,
  Factor Finders, LLC     25101 Chagrin Boulevard       Referral Agreement          Customer referral           $0.00
                                 Suite 250,                                        payment agreement
                            Cleveland, OH 44122
  GRB Associates (Gary      2 Nicols Court, West        Referral Agreement          Customer referral           $0.00
        Baker)              Harrison, NY, 10604                                    payment agreement
   Hunter Reid (PFC)        82 Main Street East,        Referral Agreement          Customer referral           $0.00
                           Grimsby, ON L3M1N3                                      payment agreement
    James Shalinsky           9 Declaration Dr,         Referral Agreement          Customer referral           $0.00
  (Advanced Funding         Newtown, PA 18940                                      payment agreement
       Group)

                                                                2
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          Name                         Address                Contract Type          Description       Cure Amount

Jeff Stone (T. Jeff Stone &      1920 Woodbridge Dr,        Referral Agreement    Customer referral       $0.00
        Associates)              McKinney, TX 75072                              payment agreement
   John Harraghy (Trust       7 Rozella St., Newtown, PA    Referral Agreement    Customer referral       $0.00
    Funding Solutions)                    18940                                  payment agreement
  JS Platinum Insurance        4835 Hallmark Parkway,       Referral Agreement    Customer referral       $0.00
                              San Bernardino, CA 92407                           payment agreement
 JVRC (Jesse Gutierrez)         5707 Corsa Ave., #105,      Referral Agreement    Customer referral       $0.00
                                 Westlake Village, CA                            payment agreement
                                          91362
Keystone Marketing (Bill       1322 South 2670 East, St.    Referral Agreement    Customer referral       $0.00
       Hansen)                    George, UT 84790                               payment agreement
Keystone Marketing LLC             777 E. 700 So, St.       Referral Agreement    Customer referral       $0.00
                                   George, UT 84790                              payment agreement
      Larry Holstein            20600 Chagrin Blvd, Ste     Referral Agreement    Customer referral       $0.00
                              350, Cleveland, OH 44122                           payment agreement
 Lilogy (Andrew James)        60 Broad Street., Ste 2404,   Referral Agreement    Customer referral       $0.00
                                     NY, NY 10004                                payment agreement
Marcos Hass Wakamatsu         Rua Rio Claro, n. 65 Apt 31   Contract Employee     Contract software       $0.00
                                   Barirro Olimpico,                                  engineer
                                Sao Caetano do Sut Sao
                                          Paulo
     Meritus Capital                50 California St        Referral Agreement    Customer referral       $0.00
                                      Suite 1500,                                payment agreement
                               San Francisco, CA 94111
   Michael DiManno              2365 Iron Point Rd., Ste    Referral Agreement    Customer referral       $0.00
    (EmployInsure)              100, Folsom, CA 95630                            payment agreement
 Michael Santos Insuran            5666 La Jolla Blvd       Referral Agreement    Customer referral       $0.00
                                          #303,                                  payment agreement
                                   La Jolla, CA 92037
        Microsoft                 One Microsoft Way,        Software Provider     Software provider       $0.00
                                 Redmond, WA 98052
 Mike Santos (Workers            4179 Adams Ave, San        Referral Agreement    Customer referral       $0.00
    Comp Access)                    Diego, CA 92116                              payment agreement


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          Name                         Address                 Contract Type               Description            Cure Amount

     Paul McClintock           2524 Rivertowne Pkwy,        Referral Agreement         Customer referral             $0.00
                              Mount Pleasant, SC 29466                                payment agreement
   PEO Analysis (Chris           2028 S. Bentley Ave.,      Referral Agreement         Customer referral             $0.00
      Fitzjarrald)               #PH1, Los Angeles, CA                                payment agreement
                                          90025
   Phil Cohen (Factor           25101 Chagrin Blvd, Ste     Referral Agreement         Customer referral             $0.00
         Finders)             250, Cleveland, OH 44122                                payment agreement
    Prestige Capital                400 Kelby Street        Referral Agreement         Customer referral             $0.00
                                       10th Floor,                                    payment agreement
                                   Fort Lee, NJ 07024
       QuickBooks                  2632 Marine Way           Software Provider         Software provider             $0.00
                              Mountain View, CA 94043
       Ring Central            20 Davis Drive, Belmont,      Software Provider       Phone system software           $0.00
                                        CA 94002
       Rupen Shah                 506 New Dover Rd.,        Referral Agreement         Customer referral             $0.00
                                   Colonia, NJ 07067                                  payment agreement
Ryan Scott (Perk Benefits)      2034 E. Marquette Dr.,      Referral Agreement         Customer referral             $0.00
                                   Gilbert, AZ 85234                                  payment agreement
        Salesforce            2300 N Field St, Dallas, TX    Software Provider         Software provider             $0.00
                                          75201
   Sunny Arora (Metro             260 Middlesex Essex       Referral Agreement         Customer referral             $0.00
   Business Solutions)         Turpike, Iselin, NJ 08830                              payment agreement
 The Corporate Advocate       1455 S. Auto Center Drive,    Referral Agreement         Customer referral             $0.00
       (Ray Blom)                 Ste 125, Ontario, CA                                payment agreement
                                          91761
          Tipalti                  1810 Gateway Dr.,              Staffing          Offshore staffing provider       $0.00
                                         Ste 300,
                                 San Mateo, CA 94404
Trey Pearce (T, L, & S LLC)      6000 Fairview Rd, Ste      Referral Agreement         Customer referral             $0.00
                                  1200, Charlotte, NC                                 payment agreement
                                          28210
  Wells Fargo Bank N.A.        420 Montgomery St., 9th      Bank Service Provider    Treasury Management             $0.00
                                 Flr, San Francisco, CA                                 service provider
                                          94104

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                    Name                                             Address                                       Contract Type             Description        Cure Amount

       William Blenderman                                62 Golf Club Circle,                                  Referral Agreement          Customer referral       $0.00
                                                       Pawleys Island, SC 29585                                                           payment agreement
   WorkComp Solutions LLC                                 9668 Milliken Ave                                    Referral Agreement          Customer referral       $0.00
                                                            Ste. 104-189,                                                                 payment agreement
                                                               Rancho
                                                        Cucamonga, CA 91730
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